Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 1 of 48 PageID #: 1733




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION



  ERIN ALDRICH, LONDA BEVINS,
  JESSICA JOHNSON, AND BEATA
  CORCORAN, individually and on behalf of
  all others similarly situated,

               Plaintiffs,                  Case No. 1:20-cv-02310-JRS-MPB
        vs.

  NATIONAL COLLEGIATE ATHLETIC              Judge:   Hon. James R. Sweeney II
  ASSOCIATION and THE BOARD OF
  GOVERNORS OF THE NATIONAL
  COLLEGIATE ATHLETIC ASSOCIATION,

               Defendants.


     DEFENDANTS NATIONAL COLLEGIATE ATHLETIC ASSOCIATION AND ITS
    BOARD OF GOVERNORS’ MEMORANDUM OF POINTS AND AUTHORITIES IN
   SUPPORT OF THEIR MOTION TO DISMISS AND/OR STRIKE SECOND AMENDED
                             COMPLAINT
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 2 of 48 PageID #: 1734




                                                TABLE OF CONTENTS

                                                                                                                                     Page
  I.     INTRODUCTION ...............................................................................................................1

  II.    FACTUAL BACKGROUND ..............................................................................................3

         A.        The NCAA, Its Board of Governors, and Its Member Institutions ..........................3

         B.        Plaintiffs Aldrich, Bevins, Johnson, and Corcoran ..................................................4

  III.   ARGUMENT .......................................................................................................................5

         A.        Plaintiffs’ Twenty-Year-Old Claims Must Be Dismissed as Untimely ...................5

                   1.         Indiana Law Applies for Statute of Limitations ..........................................5

                   2.         Aldrich’s Claims Are Not Salvaged by the Discovery Rule or
                              Tolling for Legal Disability .........................................................................6

                              (a)        Aldrich’s Claims Accrued More Than Twenty Years Ago .............6

                              (b)        Indiana’s Legal Disabilities Statute Does Not Apply ......................8

                   3.         Bevins and Johnson Do Not Qualify for an Exception to the Statute
                              of Limitations ...............................................................................................9

                   4.         A Federal Court Should Not Create a New Equitable Exception to
                              Excuse Plaintiffs’ Untimely State Law Claims .........................................12

         B.        Plaintiffs Lack Standing to Seek Injunctive Relief and Corcoran Lacks
                   Standing to Seek Any Relief ..................................................................................13

         C.        The Board Is Not an Entity with the Capacity To Be Sued ...................................17
         D.        Plaintiffs’ Claims Based on Vicarious Liability Fail .............................................17

                   1.         Choice of Law for Vicarious Liability Tort Claims...................................18

                   2.         Respondeat Superior Is Inapplicable Because the Member
                              Institutions, Not the NCAA, Employed and Controlled Rembao ..............18

                   3.         Respondeat Superior Is Also Inapplicable Because Sexual Abuse Is
                              Outside Rembao’s Scope of Employment as a Coach ...............................20

                   4.         Plaintiffs’ Ratification Theory Fails Because There Is No Agency
                              Relationship Between Rembao and the NCAA, and the NCAA
                              Lacked Knowledge of Rembao’s Conduct ................................................22

         E.        The NCAA and Its Board Do Not Owe a Legally Actionable Duty as
                   Required to Support Plaintiffs’ Direct Liability Negligence-Based Claims ..........24

                   1.         Choice of Law for Direct Liability Negligence-Based Claims ..................24


                                                                   ii
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 3 of 48 PageID #: 1735




                                        TABLE OF CONTENTS
                                            (Continued)
                                                                                                                              Page
              2.      Plaintiffs Fail to Establish the Required Duty ...........................................26

                      (a)       The NCAA and Its Board Owe No Legally Actionable
                                Duty of Care as a Matter of Law to Plaintiffs ................................26

                      (b)       The NCAA and Its Board Did Not Assume a Duty to
                                Plaintiffs .........................................................................................29

                      (c)       The NCAA Does Not Owe a Fiduciary Duty to Plaintiffs ............31

                      (d)       The NCAA Does Not Owe a Duty to Support Plaintiffs’
                                “Negligent Misrepresentation/Omission” Claim ...........................31

        F.    Plaintiffs’ Contract and Third-Party-Beneficiary Claims Fail ...............................32

              1.      Choice of Law for Contract-Based Claims ................................................32

              2.      There Is No Express or Implied Contract Between the NCAA and
                      Student-Athletes.........................................................................................32

              3.      Plaintiffs Are Not Third-Party Beneficiaries of Any Alleged
                      Contract Between the NCAA and Student-Athletes ..................................35




                                                          iii
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 4 of 48 PageID #: 1736




                                                TABLE OF AUTHORITIES

                                                                                                                                   Page
  FEDERAL CASES

  Alonso v. Blue Sky Resorts, LLC,
     179 F. Supp. 3d 857 (S.D. Ind. 2016) ......................................................................................15

  Alvarez v. CSX Corp.,
     No. 10-CV-80, 2013 WL 1870578 (N.D. Ind. May 2, 2013) ..................................................11

  Area Transportation, Inc. v. Ettinger,
     219 F.3d 671 (7th Cir. 2000) ...................................................................................................16

  Ashcroft v. Iqbal,
     556 U.S. 662 (2009) .............................................................................................................5, 23

  Autocephalous Greek-Orthodox Church of Cyprus v. Goldberg & Feldman Fine
     Arts Inc.,
     717 F. Supp. 1374 (S.D. Ind. 1989) .......................................................................................5, 6

  Bell v. Keating,
      697 F.3d 445 (7th Cir. 2012) ...................................................................................................15

  Boston v. City of Chicago,
     No. 86-C-5534, 1988 WL 31532 (N.D. Ill. Mar. 28, 1988) ....................................................17

  Bradley v. National Collegiate Athletic Ass’n,
     249 F. Supp. 3d 149 (D.D.C. 2017) .........................................................................................35

  Clapper v. Amnesty International USA,
     568 U.S. 398 (2013) .....................................................................................................14, 15, 16

  Doe v. Howe Military School,
     227 F.3d 981 (7th Cir. 2000) .....................................................................................................7

  Doe v. Vigo County,
     905 F.3d 1038 (7th Cir. 2018) .................................................................................................21

  Ernstes v. Warner,
     860 F. Supp. 1338 (S.D. Ind. 1994) ...........................................................................................9

  Filardi v. Loyola University,
      No. 97 C 1814, 1998 WL 111683 (N.D. Ill. Mar. 12, 1998) ...................................................13

  Flood v. National Collegiate Athletic Ass’n,
     No. 15-CV-890, 2015 WL 5785801 (M.D. Pa. Aug. 26) ........................................................31




                                                                     iv
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 5 of 48 PageID #: 1737




                                                 TABLE OF AUTHORITIES
                                                       (Continued)
                                                                                                                                     Page
  Flynn v. FCA US LLC,
     No. 15-CV-0855, 2016 WL 5341749 (S.D. Ill. Sept. 23, 2016) ..............................................15

  Foster v. Center Township of LaPorte County,
     798 F.2d 237 (7th Cir. 1986) ...................................................................................................17

  Frey v. Bank One,
     91 F.3d 45 (7th Cir. 1996) .....................................................................................................6, 7

  Gary/Chicago International Airport Authority v. Zaleski,
     144 F. Supp. 3d 1019 (N.D. Ind. 2015) ...................................................................................33

  Gaston v. Ghosh,
     920 F.3d 493 (7th Cir. 2019) ...................................................................................................22

  Geehan v. Monahan,
     382 F.2d 111 (7th Cir. 1967) .....................................................................................................6

  General Building Contractors Ass’n, Inc. v. Pennsylvania,
     458 U.S. 375 (1982) .................................................................................................................18

  Gertz v. Robert Welch, Inc.,
     680 F.2d 527 (7th Cir. 1982) .....................................................................................................9

  Guaranty Trust Co. of New York v. York,
     326 U.S. 99 (1945) ...................................................................................................................13

  Hairston v. Pacific 10 Conference,
     101 F.3d 1315 (9th Cir.), as amended (Dec. 19, 1996)............................................................35

  Hall v. National Collegiate Athletic Ass’n,
     985 F. Supp. 782 (N.D. Ill. 1997) ............................................................................................34

  Hansen v. Board of Trustees for Hamilton Se. School Corp.,
     No. 05-CV-670, 2007 WL 3091580 (S.D. Ind. Oct. 19, 2007) ...............................................22

  Heslep v. Americans for African Adoption, Inc.,
     890 F. Supp. 2d 671 (N.D.W. Va. 2012) .................................................................................17

  Hurt v. West Lafayette Community School Corp.,
     450 F. Supp. 2d 900 (N.D. Ind. 2006) .......................................................................................7

  Indiana Coalition for Public Education - Monroe County v. McCormick,
      338 F. Supp. 3d 926 (S.D. Ind. 2018) ......................................................................................16



                                                                      v
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 6 of 48 PageID #: 1738




                                               TABLE OF AUTHORITIES
                                                     (Continued)
                                                                                                                                Page
  Knelman v. Middlebury College,
     898 F. Supp. 2d 697 (D. Vt. 2012)...........................................................................................35

  Estate of Knox v. Wheeler,
     No. 05-CV-19, 2005 WL 2043787 (N.D. Ind. Aug. 25, 2005)................................................18

  Leathermon v. Grandview Memorial Gardens, Inc.,
     No. 07-CV-137, 2011 WL 2445980 (S.D. Ind. June 15, 2011) ...............................................11

  Logan v. Wilkins,
     644 F.3d 577 (7th Cir. 2011) ...................................................................................................10

  Lujan v. Defenders of Wildlife,
     504 U.S. 555 (1992) .....................................................................................................14, 15, 16

  Lynch v. Math-U-See, Inc.,
     No. 11-CV-233, 2013 WL 796531 (N.D. Ind. Mar. 4, 2013) ..................................................25

  McReynolds v. Merrill Lynch & Co.,
    694 F.3d 873 (7th Cir. 2012) ...................................................................................................23

  Monger v. Purdue University,
    953 F. Supp. 260 (S.D. Ind. 1997) ...........................................................................................11

  Mueller v. Apple Leisure Corp.,
    880 F.3d 890 (7th Cir. 2018) ...................................................................................................33

  Nelson v. International Paint Co.,
     716 F.2d 640 (9th Cir. 1983) .....................................................................................................6

  Pain Ctr. of SE Indiana LLC v. Origin Healthcare Solutions LLC,
     893 F.3d 454 (7th Cir. 2018) ...................................................................................................11

  Pinkney v. Thomas,
     583 F. Supp. 2d 970 (N.D. Ind. 2008) .....................................................................................23

  Plotkin v. Ryan,
     239 F.3d 882 (7th Cir. 2001) .............................................................................................14, 15

  Pramuk v. Purdue Calumet University,
     No. 12-CV-77, 2012 WL 6552920 (N.D. Ind. Dec. 14, 2012) ................................................11

  Remy, Inc. v. Tecnomatic, S.p.A.,
     No. 11-cv-00991, 2012 WL 13032963 (S.D. Ind. Mar. 29, 2012) ............................................6



                                                                   vi
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 7 of 48 PageID #: 1739




                                                TABLE OF AUTHORITIES
                                                      (Continued)
                                                                                                                                   Page
  Roche Diagnostics Corp. v. Binson’s Hospital Supplies, Inc.,
     No. 17-cv-00949, 2017 WL 4123050 (S.D. Ind. Sept. 18, 2017) ............................................32

  Rosenbaum v. Seybold,
     No. 06-CV-352, 2008 WL 513205 (N.D. Ind. Feb. 22, 2008) ................................................24

  Schott v. Huntington National Bank,
     914 F. Supp. 2d 933 (S.D. Ind. 2012) ....................................................................................5, 6

  Spierer v. Rossman,
     798 F.3d 502 (7th Cir. 2015) ...................................................................................................24

  Spokeo, Inc. v. Robins,
     136 S. Ct. 1540 (2016) .............................................................................................................14

  Theta Chi Fraternity, Inc. v. Leland Stanford Junior University,
     212 F. Supp. 3d 816 (N.D. Cal. 2016) .....................................................................................17

  United States v. Rathbone Retirement Community, Inc.,
     No. 08-CV-174, 2009 WL 2147878 (S.D. Ind. July 15, 2009) ...............................................20

  Wisland v. Admiral Beverage Corp.,
     119 F.3d 733 (8th Cir. 1997) .....................................................................................................6

  Wright v. Associated Insurance Companies Inc.,
     29 F.3d 1244 (7th Cir. 1994) ...................................................................................................33

  Zander v. Orlich,
     907 F.3d 956 (7th Cir. 2018) ...................................................................................................20

  STATE CASES

  Ahuja v. Lynco Ltd. Medical Research,
     675 N.E.2d 704 (Ind. Ct. App. 1996).......................................................................................33

  Ayres v. Indian Heights Volunteer Fire Department, Inc.,
     493 N.E.2d 1229 (Ind. 1986) ...................................................................................................35

  Barnett v. Clark,
     889 N.E.2d 281 (Ind. 2008) .....................................................................................................22

  Beneficial Mortgage Co. of Indiana v. Powers,
     550 N.E.2d 793 (Ind. Ct. App. 1990).......................................................................................23




                                                                    vii
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 8 of 48 PageID #: 1740




                                               TABLE OF AUTHORITIES
                                                     (Continued)
                                                                                                                                Page
  Cavanaugh’s Sports Bar & Eatery, Ltd. v. Porterfield,
     140 N.E.3d 837 (Ind. 2020) .....................................................................................................27

  City of East Chicago v. East Chicago Second Century, Inc.,
      908 N.E.2d 611 (Ind. 2009) ............................................................................................. passim

  City of Indianapolis v. West,
      81 N.E.3d 1069 (Ind. Ct. App. 2017).................................................................................20, 21

  Collins v. Dunifon,
     323 N.E. 264 (Ind. Ct. App. 1975) ............................................................................................9

  Cowe by Cowe v. Forum Group, Inc.,
     575 N.E.2d 630 (Ind. 1991) .....................................................................................................16

  Dallas Moser Transporters, Inc. v. Ensign,
     594 N.E.2d 454 (Ind. Ct. App. 1992).......................................................................................19

  Doe v. Lafayette School Corp.,
     846 N.E.2d 691 (Ind. Ct. App. 2006).......................................................................................22

  Doe v. Shults-Lewis Child & Family Servs., Inc.,
     718 N.E.2d 738 (Ind. 1999) .......................................................................................................7

  Doe v. United Methodist Church,
     673 N.E.2d 839 (Ind. Ct. App. 1996)...................................................................................7, 10

  Duwe v. Rodgers,
    438 N.E.2d 759 (Ind. Ct. App. 1982).........................................................................................8

  In re Estate of Neu,
      588 N.E.2d 567 (Ind. Ct. App. 1992).......................................................................................31

  Fager v. Hundt,
     610 N.E.2d 246 (Ind. 1993) ...................................................................................................8, 9

  Gared Holdings, LLC v. Best Bolt Products, Inc.,
     991 N.E.2d 1005 (Ind. Ct. App. 2013) ....................................................................................16

  Goodwin v. Yeakle’s Sports Bar & Grill, Inc.,
     62 N.E.3d 384 (Ind. 2016) .................................................................................................27, 28

  Green v. Perry,
     549 N.E.2d 385 (Ind. Ct. App. 1990).......................................................................................18



                                                                  viii
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 9 of 48 PageID #: 1741




                                               TABLE OF AUTHORITIES
                                                     (Continued)
                                                                                                                               Page
  Harmon v. Fisher,
     56 N.E.3d 95 (Ind. Ct. App. 2016) ..........................................................................................32

  Hartford Accident & Indemnity Co. v. Dana Corp.,
     690 N.E.2d 285 (Ind. Ct. App. 1997).......................................................................................32

  Hubbard Manufacturing Co. v. Greeson,
     515 N.E.2d 1071 (Ind. 1987) .......................................................................................18, 24, 25

  Huntington Mortgage Co. v. DeBrota,
     703 N.E.2d 160 (Ind. Ct. App. 1998).......................................................................................31

  Konkle v. Henson,
     672 N.E.2d 450 (Ind. App. 1996) ............................................................................................21

  Lanni v. National Collegiate Athletic Ass’n,
     42 N.E.3d 542 (Ind. Ct. App. 2015)...................................................................................30, 31

  Lee v. Estate of Cain,
     476 N.E.2d 922 (Ind. Ct. App. 1985).........................................................................................6

  Luhnow v. Horn,
     760 N.E.2d 621 (Ind. Ct. App. 2001).......................................................................................35

  Mathews v. Hansen,
     797 N.E.2d 1168 (Ind. Ct. App. 2003) ....................................................................................13

  Estate of Mayer v. Lax, Inc.,
     998 N.E.2d 238 (Ind. Ct. App. 2013).......................................................................................22

  McCalment v. Eli Lilly & Co.,
    860 N.E.2d 884 (Ind. Ct. App. 2007).......................................................................................32

  Ne. Rural Elec. Membership Corp. v. Wabash Valley Power Ass’n, Inc.,
      56 N.E.3d 38 (Ind. Ct. App. 2016) ..........................................................................................10

  Neal v. IAB Financial Bank,
     68 N.E.3d 1114 (Ind. Ct. App. 2017).................................................................................26, 27

  Passmore v. Multi-Management Services, Inc.,
     810 N.E.2d 1022 (Ind. 2004) ...................................................................................................32

  Simon v. United States,
     805 N.E.2d 798 (Ind. 2004) ...............................................................................................24, 25



                                                                  ix
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 10 of 48 PageID #: 1742




                                                   TABLE OF AUTHORITIES
                                                         (Continued)
                                                                                                                                          Page
   Smith v. Delta Tau Delta, Inc.,
      9 N.E.3d 154 (Ind. 2014) ................................................................................................. passim

   Southport Little League v. Vaughan,
      734 N.E.2d 261 (Ind. Ct. App. 2000).......................................................................................21

   Stropes ex rel. Taylor v. Heritage House Childs. Center of Shelbyville, Inc.,
       547 N.E.2d 244 (Ind. 1989) .....................................................................................................21

   W.H. Barber Co. v. Hughes,
      63 N.E.2d 417 (Ind. 1945) .......................................................................................................32

   Wabash Grain, Inc. v. Smith,
     700 N.E.2d 234 (Ind. Ct. App. 1998).......................................................................................12

   Webb v. Jarvis,
     575 N.E.2d 992 (Ind. 1991) ...............................................................................................26, 28

   Wilcox Manufacturing Group., Inc. v. Marketing Services of Indiana, Inc.,
      832 N.E.2d 559 (Ind. Ct. App. 2005).......................................................................................23

   Williams v. Cingular Wireless,
      809 N.E.2d 473 (Ind. Ct. App. 2004).......................................................................................26

   Yost v. Wabash College,
      3 N.E.3d 509 (Ind. 2014) ................................................................................................. passim

   FEDERAL STATUTES

   28 U.S.C. § 1406 ..........................................................................................................................5, 6

   28 U.S.C. § 1406(a) .........................................................................................................................6

   Fed. R. Civ. P. 9(b) ..................................................................................................................10, 11

   Fed. R. Civ. P. 12(b)(1)..................................................................................................................13

   Fed. R. Civ. P. 12(b)(6)..................................................................................................5, 10, 12, 18

   Fed. R. Civ. P. 12(f) .......................................................................................................................13

   Fed. R. Civ. P. 17(b) ..................................................................................................................2, 17

   Fed. R. Civ. P. 17(b)(3)..................................................................................................................17




                                                                         x
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 11 of 48 PageID #: 1743




                                                   TABLE OF AUTHORITIES
                                                         (Continued)
                                                                                                                                         Page
   Fed. R. Civ. P. 23(b)(2)..................................................................................................................16

   STATE STATUTES

   Ind. Code Ann. § 16-22-3-24 .........................................................................................................17

   Ind. Code Ann. § 16-23-1-47 .........................................................................................................17

   Ind. Code Ann. § 21-27-4-2 ...........................................................................................................17

   Ind. Code Ann. § 21-27-5-2 ...........................................................................................................17

   Ind. Code Ann. § 34-11-2-4 .............................................................................................................5

   Ind. Code Ann. § 34-11-2-7 .............................................................................................................5

   Ind. Code Ann. § 34-11-2-11 ...........................................................................................................5

   Ind. Code Ann. § 34-11-5-1 ...........................................................................................................10

   Ind. Code Ann. § 34-11-6-1 .............................................................................................................8

   Ind. Trial Rule 17(E) ......................................................................................................................17

   TREATISES

   Restatement (Second) of Torts § 315.............................................................................................26




                                                                        xi
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 12 of 48 PageID #: 1744




   I.     INTRODUCTION
          This is a case originally brought in the Northern District of California by three former

   student-athletes (Plaintiffs Erin Aldrich, Londa Bevins, and Jessica Johnson) who twenty years

   ago participated in track and field at the University of Arizona (“UArizona”) and the University

   of Texas at Austin (“UT”) and who allege that their coach at UArizona and UT, John Rembao,

   sexually abused them. Plaintiffs alleged that the NCAA, its Board of Governors, and Rembao

   were responsible for the sexual abuse. In response to the NCAA’s initial motion to dismiss

   and/or strike Plaintiffs’ injunctive relief claims for lack of standing filed on May 22, 2020,

   Plaintiffs amended the Complaint to add as a Plaintiff current student-athlete Beata Corcoran.

   Corcoran does not allege any connection to Rembao, but alleges she is fearful that someday she

   may suffer abuse while participating in rowing at her current school, Princeton University.

   Following the NCAA’s successful motion to dismiss the First Amended Complaint for lack of

   personal jurisdiction, the Honorable Edward J. Davila transferred the case against the NCAA and

   the Board to this District. The case against Rembao continues against him in California.

          In the Second Amended Complaint (the “SAC”), ECF No. 116, Plaintiffs bring fourteen

   claims against the NCAA and three claims against its Board. They argue that the NCAA should

   have adopted policies to prevent the alleged abuse by Rembao, that the failure to do so

   constitutes negligence, a breach of contract, and that the NCAA is vicariously liable for

   Rembao’s sexual abuse. Plaintiffs purport to represent one nationwide class and two

   subclasses—(1) all student-athletes who participated in any NCAA sport from 1992 to the

   present (“Nationwide Class”), a class of remarkable scope and size, (2) all female NCAA

   student-athletes ever coached by Rembao (“NCAA-Rembao Subclass”), and (3) all student-

   athletes who participate in any NCAA sport during the pendency of this lawsuit (“Current

   Student-Athlete Subclass”).

          The NCAA is a voluntary unincorporated association created by member colleges and

   universities across the country to administer intercollegiate athletics. The NCAA has the specific

   powers its members have vested in it. In defining the NCAA’s legislative powers, the NCAA’s



                                                    1
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 13 of 48 PageID #: 1745




   members have explicitly retained for themselves the direct responsibility for the health and

   safety of their student-athletes. The NCAA’s role is to provide support to its members in

   carrying out that retained responsibility, through model policies, educational resources, and

   forums for members to share approaches. Consistent with the member institutions retaining

   responsibility for student-athlete health and safety, the Board has adopted a resolution directing

   athletic departments to follow campus policies and local and state law related to sexual abuse.

          Colleges and universities across the country recognize that sexual abuse on their

   campuses is a serious problem, and the NCAA has supported its member institutions with

   resources those members can use on their respective campuses to combat sexual abuse. This

   case is not about whether the NCAA opposes sexual abuse and works to support its member

   institutions in eradicating it—it does. Instead, this case is about what the NCAA’s legal duty is

   to take action with respect to sexual abuse on campuses nationwide and, more specifically, what

   the NCAA’s legal responsibility is for the alleged sexual abuse by one track coach twenty years

   ago. The NCAA respectfully submits the SAC is flawed as a matter of law and that all claims

   against the NCAA and its Board be dismissed and/or stricken.

          To begin, the SAC suffers from three global deficiencies. First, the former student-

   athletes’ claims are untimely and no exception to the statutes of limitations applies. Second,

   Plaintiffs lack standing to pursue their claim for injunctive relief because three of the four are not

   current student-athletes and the current student-athlete does not allege a requisite concrete,

   particularized harm (and thus lacks standing to bring any claim). Finally, the Board is not a

   proper defendant under Federal Rule of Civil Procedure 17(b) and Indiana law.

          If the Court gets past these global deficiencies, which the NCAA respectfully suggests it

   should not, the claims are deficient as a matter of law. First, the indirect claims (Counts VIII–

   XIII) alleging the NCAA is vicariously liable for Rembao’s conduct are deficient because

   Rembao was not the NCAA’s agent and even if he was, the alleged abuse was outside the scope

   of his employment. Second, the direct negligence-based claims (Counts I–IV) should be

   dismissed because the NCAA does not owe a legally cognizable duty to Plaintiffs. Finally, the



                                                     2
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 14 of 48 PageID #: 1746




   contract-based claims (Counts V–VII) fail because there is no enforceable contract between

   Plaintiffs and the NCAA, nor were Plaintiffs third-party beneficiaries of any contract.

   II.    FACTUAL BACKGROUND

          A.      The NCAA, Its Board of Governors, and Its Member Institutions
          Colleges and universities created the NCAA as a voluntary unincorporated association,

   delegating to it the power to administer intercollegiate athletic competition. Nearly 1,100

   schools across the country are members of the NCAA. (SAC ¶ 82.) A Board of Governors,

   comprised of Presidents and Chancellors from schools of various sizes and regions plus five

   independent Board members, manages the NCAA. (Id. ¶¶ 30–31.)

          The participating colleges and universities (“the member institutions”) and conference

   members adopted the NCAA Constitution, which “defines the NCAA’s purposes and

   fundamental policies.” (SAC ¶ 84.) The NCAA takes action only where its member institutions

   and conferences have delegated it responsibility, such as setting rules governing the recruitment

   of athletes, the rules of competition, how postseason competition will work, etc. The member

   institutions have not delegated responsibility for health and safety or the student-athlete/coach

   relationship. Specifically, the Constitution provides it “is the responsibility of each member

   institution to protect the health of, and provide a safe environment for, each of its participating

   student-athletes.” (Id. ¶ 85 (citing NCAA Const., art. 2, § 2.2.3, emphasis added).) Similarly, it

   provides it “is the responsibility of each member institution to establish and maintain an

   environment that fosters positive relationship between the student-athlete and coach.” (Id.

   (citing NCAA Const., art. 2, § 2.2.4, emphasis added).)

          Consistent with its Constitution, the NCAA’s role has been to provide support and

   educational resources to member institutions so schools can act to better protect the health and

   safety of everyone on their campuses, including student-athletes, with respect to sexual abuse.

   The NCAA has emphasized that it is “committed to supporting and working with campuses to

   develop collaborative programming, resources, tool kits and best practices to create and maintain

   a safe campus environment.” (SAC ¶ 89.) For example, the NCAA has assembled commissions



                                                     3
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 15 of 48 PageID #: 1747




   to bring attention to the subject and developed publications and model policies that campuses

   and their athletic departments can use. (See, e.g., id. ¶¶ 115, 130, 132.) In addition, the NCAA

   passed a resolution to support the efforts of member institutions in this space, specifically

   requiring athletic departments to ensure that all athletics personnel and student-athletes know and

   follow campus rules related to sexual abuse, along with federal and local laws. (Id. ¶ 131.)

           B.     Plaintiffs Aldrich, Bevins, Johnson, and Corcoran
           The NCAA recognizes the damaging effects of sexual abuse on college students,

   including student-athletes, and acknowledges the courage it takes for survivors of sexual abuse to

   come forward. Here is the conduct Plaintiffs allege in the SAC:

           Aldrich. Rembao coached Aldrich at UArizona, from 1996 to 1997. (SAC ¶ 20.)
   Aldrich alleges that Rembao engaged in inappropriate sexual compliments and thereafter

   engaged in various sexual acts with her. (Id. ¶¶ 176–191.) Rembao left UArizona to transfer to

   UT. (Id. ¶¶ 191, 198.) At UT, where Aldrich competed until 2000, Rembao allegedly attempted

   to continue a sexual relationship, but Aldrich maintained her distance. (Id. ¶¶ 20, 200.) Aldrich

   alleges that she did not realize she was sexually abused until 2019, when she watched a

   documentary. (Id. ¶ 205.)

           Bevins. Rembao coached Bevins at UT from 1999 to 2000. (SAC ¶¶ 22, 278.) She
   alleges Rembao psychologically and sexually abused her, including unwanted touching, until she

   ultimately quit the team and transferred to the University of Arkansas. (See id. ¶¶ 279–315,

   317.)

           Johnson. Rembao coached Johnson at UT between 1999 and 2000. (SAC ¶¶ 21, 224.)
   She alleges he engaged in unwanted sexual touching. (Id. ¶¶ 228, 234, 236–237, 239, 246–251.)

   In March 2000, Johnson talked to Bevins, “they realized that Rembao was abusing both of

   them,” and they “concluded that they needed to transfer.” (Id. ¶¶ 242, 245, 307.) Johnson also

   transferred to the University of Arkansas. Johnson alleges she reported Rembao to UT, UT

   investigated, and UT found his actions “did not constitute sexual misconduct.” (Id. ¶¶ 254–255.)

           Plaintiffs Aldrich, Bevins, and Johnson do not allege they informed the NCAA about



                                                    4
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 16 of 48 PageID #: 1748




   their abuse before this lawsuit. They allege that due to Rembao’s conduct, they suffered

   damages including emotional distress and lost scholarships. (SAC ¶¶ 416, 432.) They also ask

   for an injunction ordering the NCAA to implement new rules. (Id. at 117.)

          Corcoran. Corcoran is a sophomore on the rowing team at Princeton University. (SAC
   ¶ 24.) Corcoran alleges that “[a]lthough [she] has not been subject to sexual harassment from the

   current Princeton rowing coaching staff,” she is fearful that she may be subject to sexual abuse

   or harassment if the coaching staff changes. (Id.)

   III.   ARGUMENT
          Plaintiffs’ allegations are insufficient to “allow[] the [C]ourt to draw the reasonable

   inference that” Defendants are “liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

   662, 678 (2009). Their claims must be dismissed.

          A.      Plaintiffs’ Twenty-Year-Old Claims Must Be Dismissed as Untimely
          Statutes of limitations are “favored” in Indiana because they “rest upon sound public

   policy and tend to the peace and welfare of society.” Autocephalous Greek-Orthodox Church of

   Cyprus v. Goldberg & Feldman Fine Arts Inc., 717 F. Supp. 1374, 1385 (S.D. Ind. 1989), aff’d,

   917 F.2d 278 (7th Cir. 1990) (citation omitted). “[D]ismissal under Rule 12(b)(6) [is]

   appropriate” when a complaint “contains facts that establish the statute of limitation defense.”

   Schott v. Huntington Nat’l Bank, 914 F. Supp. 2d 933, 939–40 (S.D. Ind. 2012).
          Aldrich, Bevins and Johnson’s claims all relate to conduct that allegedly occurred more

   than twenty years ago—well outside the applicable statutes of limitations. See Ind. Code Ann.

   § 34-11-2-4 (personal injury; two years); Ind. Code Ann. § 34-11-2-11 (contracts in writing; ten

   years); Ind. Code Ann. § 34-11-2-7 (contracts not in writing; six years). Indeed, Aldrich, Bevins,

   and Johnson concede the timeliness of their twenty-year-old claims turns on whether an

   exception to the limitations period applies. (SAC ¶¶ 345–389.) Because no such exception

   applies, their claims should be dismissed as untimely.

                  1.     Indiana Law Applies for Statute of Limitations
          The Northern District of California transferred this case pursuant to 28 U.S.C. § 1406.



                                                    5
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 17 of 48 PageID #: 1749




   (See Order Granting NCAA’s Motion to Dismiss (N.D. Cal. Sept. 3, 2020), ECF No. 72 at 21.)

   Because it was transferred pursuant to Section 1406, this Court applies the choice-of-law rules of

   the transferee court—here, Indiana. See Remy, Inc. v. Tecnomatic, S.p.A., No. 11-cv-00991,

   2012 WL 13032963, at *6 (S.D. Ind. Mar. 29, 2012) (law of transferee court applies to § 1406

   transfer); see also Geehan v. Monahan, 382 F.2d 111, 114 (7th Cir. 1967) (applying choice of

   law of transferee court to case transferred under § 1406); Wisland v. Admiral Beverage Corp.,

   119 F.3d 733, 736 (8th Cir. 1997) (“A § 1406(a) transfer calls for application of the law of the

   transferee court . . . .”); Nelson v. Int’l Paint Co., 716 F.2d 640, 643 (9th Cir. 1983) (same).

   “Because in Indiana statutes of limitations are procedural in nature, Indiana choice-of-law rules

   state that the statute of limitations of the forum state, Indiana, will apply.” Autocephalous, 717

   F. Supp. at 1385; see also Lee v. Estate of Cain, 476 N.E.2d 922, 924 (Ind. Ct. App. 1985) (“It is

   well settled that the law of the forum state governs in procedural matters and the limitations

   statutes, being procedural in nature, fall within the rule.”).

                   2.      Aldrich’s Claims Are Not Salvaged by the Discovery Rule or Tolling
                           for Legal Disability
           Aldrich invokes delayed accrual and tolling to try to save her claims, incorrectly relying

   on Arizona law. (SAC ¶¶ 346, 358.) But under the applicable law of Indiana, Aldrich’s claims

   are untimely and there is no basis for accrual or tolling to apply.

                           (a)     Aldrich’s Claims Accrued More Than Twenty Years Ago
           Under Indiana’s discovery rule, a claim accrues when the plaintiff “knew or, in the

   exercise of ordinary diligence, could have discovered that an injury had been sustained as a result

   of the tortious act of another.” Schott, 914 F. Supp. 2d at 939; see also Frey v. Bank One, 91

   F.3d 45, 46–48 (7th Cir. 1996) (rejecting delayed discovery argument and affirming judgment on

   the pleadings). Aldrich asserts that her claims did not accrue until 2019, when she watched a

   documentary. (SAC ¶¶ 347–348.) But Aldrich’s allegation that “[a]fter she left the University

   of Arizona” in December 1997, she “repressed the majority of her memories of Rembao’s sexual

   contact with her” is fatal to this argument for two reasons. (Id. ¶¶ 198, 345 (emphases added).)




                                                      6
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 18 of 48 PageID #: 1750




          First, Aldrich concedes that for some period of time before she left UArizona, she

   retained all memories of Rembao’s sexual contact. At a minimum, Aldrich was charged during

   this period prior to 1998 with a duty to investigate Rembao’s conduct, which she did not do. See

   Doe v. United Methodist Church, 673 N.E.2d 839, 844 (Ind. Ct. App. 1996) (“Doe should have

   discovered that she had sustained injury as a result of Minister’s abusive acts.”).

          Second, Aldrich concedes that, even after leaving UArizona in 1997, she retained—at all

   times—some memories of Rembao’s sexual contact. (SAC ¶ 345 (alleging she repressed “the

   majority” of her memories, thus acknowledging that she retained some).) Indiana law is clear

   that “where the plaintiff actually retains memories of the event, there is nothing to cause a delay

   in the commencement of a cause of action.” Doe v. Shults-Lewis Child & Family Servs., Inc.,

   718 N.E.2d 738, 747 n.3 (Ind. 1999); Doe v. Howe Military Sch., 227 F.3d 981, 989–90 (7th Cir.

   2000) (affirming judgment on the pleadings on statute of limitations grounds because the

   plaintiffs “remembered the events of [sexual] abuse”). The memories Aldrich retained after

   leaving UArizona imposed at least a duty to investigate further. See Frey, 91 F.3d at 46 (notice

   from bank “created [a] duty to further inquire” into bank’s role in the fraudulent scheme).

          Aldrich’s contention that she did not understand Rembao’s conduct to be sexual abuse

   until March or April 2019 fares no better, for two additional reasons. (SAC ¶¶ 205, 348.)

          First, “Indiana does not require that a plaintiff uncover the legal theory for holding a

   defendant liable for the action to accrue.” Frey, 91 F.3d at 47. Instead, “the plaintiff must only

   be aware that the defendant caused him injury.” Id.; see also Hurt v. W. Lafayette Cmty. Sch.

   Corp., 450 F. Supp. 2d 900, 903 & n.4 (N.D. Ind. 2006) (rejecting argument that plaintiff

   “learned for the first time during counseling” that he was the victim of sexual predation where he

   remembered “the underlying acts”).

          Second, Aldrich’s assertion is contradicted by other specific allegations in the SAC,

   which show that Aldrich understood Rembao’s conduct was inappropriate when it occurred.

   Aldrich alleges that after she “maintained her distance” at UT, “Rembao stopped trying and the

   retaliation began.” (SAC ¶ 200.) She further alleges that by 1999, she was “beaten down by



                                                    7
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 19 of 48 PageID #: 1751




   Coach Rembao” and was “mentally, emotionally, and physically depleted.” (Id. ¶ 202; see also

   id. ¶ 201 (“If she didn’t jump well, he made her feel unqualified and insignificant—a loser.”).)

   Aldrich also alleges her roommate reported to UArizona that in 1996, she discovered Rembao

   hiding in her closet after walking in on Rembao and Aldrich. (Id. ¶¶ 188–190; see also id. ¶ 203

   (Aldrich “called her parents out of desperation” in 1999 and “her dad jumped on the next plane

   to support her.”).) Aldrich’s allegations tie Rembao’s behavior directly to his sexual advances,

   noting that “[h]e retaliated against her for putting distance between them and not engaging in a

   sexual relationship.” (Id. ¶ 202; see also id. ¶¶ 199–200.) Because Aldrich knew in real time

   that Rembao was causing her harm, her claims accrued more than twenty years ago.

                          (b)     Indiana’s Legal Disabilities Statute Does Not Apply
          Aldrich alleges, incorrectly relying on Arizona law, that she is entitled to tolling for

   “unsound mind.” (SAC ¶¶ 358–360.) Instead, the applicable tolling rule is Indiana’s “legal

   disabilities” statute, because, as discussed in section III.A.1 above, Indiana law governs the

   statute of limitations analysis in this Court. Indiana’s legal disabilities statute, which is narrower

   than Arizona’s unsound mind statute, does not apply here.

          The Indiana statute provides that “[a] person who is under legal disabilities when the

   cause of action accrues may bring the action within two (2) years after the disability is removed.”

   Ind. Code Ann. § 34-11-6-1. “[U]nder legal disabilities” is defined as “persons less than
   eighteen (18) years of age, mentally incompetent, or out of the United States.” Id. § 1-1-4-5(24).

   “Mentally incompetent” is defined as “of unsound mind.” Id. § 1-1-4-5(12). The statute does

   not currently define “of unsound mind.” Previously, the statute defined “of unsound mind” as

   “idiots, noncompotes (non compos mentis), lunatics and distracted persons.” Fager v. Hundt,

   610 N.E.2d 246, 250 n.2 (Ind. 1993) (citing superseded statute) (“The formerly used phrase

   ‘distracted person’ was construed to mean ‘a person who by reason of his or her mental state is

   incapable of managing or procuring the management of his or her ordinary affairs.’”). Thus,

   Courts have recognized that a plaintiff is of “unsound mind” if she is incapable of managing her

   ordinary affairs. Id.; see also Duwe v. Rodgers, 438 N.E.2d 759, 761 (Ind. Ct. App. 1982).



                                                     8
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 20 of 48 PageID #: 1752




          Because Aldrich does not allege that she was ever unable to manage her ordinary affairs,

   she cannot benefit from Indiana’s legal disabilities statute. 1 See Ernstes v. Warner, 860 F. Supp.

   1338, 1340 (S.D. Ind. 1994) (noting that “repressed memory is not a disability” in Indiana).

   Aldrich’s hospitalization in 2019 cannot revive claims that were already twenty years old. SAC

   ¶ 353; Fager, 610 N.E.2d at 250 n.2 (disability after accrual “would not cease, arrest, or interrupt

   the running of the statute of limitations which had already commenced”).

          The Northern District of California’s ruling denying Rembao’s separate motion to

   dismiss on statute of limitations grounds does not change the analysis. ECF No. 72 at 27. The

   court did not decide the statute of limitations issues as to the NCAA or its Board—nor could it,

   since the court lacked personal jurisdiction over those parties. Id. at 21. See Gertz v. Robert

   Welch, Inc., 680 F.2d 527, 532 (7th Cir. 1982) (law of the case only applies to issues that have

   been “litigated and decided”). The court’s ruling is inapplicable also because it applied a

   different state’s law. Under California’s choice of law rules, the Northern District of California

   applied Arizona’s unsound mind tolling statute to Aldrich’s claims. ECF No. 72 at 22–25. But

   this Court applies Indiana’s choice of law rules, which require application of Indiana law—not

   Arizona law—to determine the timeliness of Aldrich’s claims. See supra section III.A.1.

                  3.      Bevins and Johnson Do Not Qualify for an Exception to the Statute of
                          Limitations
          Bevins and Johnson invoke different exceptions. It is undisputed that their claims

   accrued more than twenty years ago. (SAC ¶ 307 (“[I]n or around March 2000, Ms. Bevins and

   Ms. Johnson admitted to each other that they were both victims of Rembao’s sexual and mental

   abuse.”).) In the summer of 2000, Johnson “submitted a formal complaint to [UT]” about

   Rembao and Bevins was interviewed as part of UT’s investigation. (Id. ¶¶ 254, 320–322.)

          Bevins and Johnson contend their claims are timely under three exceptions to the statute



   1
     This Court should reject any attempt by Aldrich to rely on Collins v. Dunifon, 323 N.E. 264,
   269 (Ind. Ct. App. 1975) for the proposition that Indiana’s legal disabilities statute also applies to
   individuals who are unable to understand their rights because subsequent case law has not
   applied this concept, nor is it found in the plain language of the statute.


                                                     9
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 21 of 48 PageID #: 1753




   of limitations—equitable estoppel, fraudulent concealment, and equitable tolling—which they

   assert were triggered by UT’s investigation into Johnson’s complaint. (SAC ¶ 372.)

   Specifically, they allege that UT’s report “exonerat[ing] Rembao” was fraudulent, and was

   “intentionally designed to detract from Rembao’s serial predation” and “shame and embarrass”

   them. (Id. ¶¶ 371, 373–374.) These allegations are insufficient as a matter of law. See Logan v.

   Wilkins, 644 F.3d 577, 582 (7th Cir. 2011) (rejecting fraudulent concealment under 12(b)(6)).

          In Indiana, fraudulent concealment prevents a defendant from asserting the statute of

   limitations “when he has, either by deception or by a violation of duty, concealed from the

   plaintiff material facts thereby preventing the plaintiff from discovering a potential cause of

   action.” City of E. Chi. v. E. Chi. Second Century, Inc., 908 N.E.2d 611, 621–22 (Ind. 2009)

   (emphasis added). Indiana’s fraudulent concealment statute similarly provides that the

   limitations period is tolled “[i]f a person liable to an action conceals the fact from the knowledge

   of the person entitled to bring the action.” See Ind. Code Ann. § 34-11-5-1. Relatedly, equitable

   estoppel prevents a party from relying on the statute of limitations when “such party by fraud or

   other misconduct has prevented a party from commencing his action.” Ne. Rural Elec.

   Membership Corp. v. Wabash Valley Power Ass’n, Inc., 56 N.E.3d 38, 44 (Ind. Ct. App. 2016)

   (emphasis added). Equitable estoppel also requires “lack of knowledge and of the means of

   knowledge as to the facts in question.” See id. at 44–45; see also United Methodist Church, 673
   N.E.2d at 844 (fraudulent concealment does not apply “[w]hen the plaintiff obtains information

   that would lead to the discovery of the cause of action through ordinary diligence”). Thus, to

   invoke fraudulent concealment or equitable estoppel, Bevins and Johnson must allege, at a

   minimum: (1) misconduct by the NCAA and its Board and (2) that they lacked actual or

   constructive knowledge of the facts underlying their claims. They do not allege either.

          First, Bevins and Johnson do not allege the NCAA or its Board took any action—

   fraudulent or otherwise—in connection with UT’s investigation and report. (SAC ¶¶ 365–381.)

   Because the SAC contains no allegations regarding the NCAA related to UT’s investigation, it

   could not possibly meet Rule 9(b)’s particularly requirement to sustain a claim against the



                                                    10
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 22 of 48 PageID #: 1754




   NCAA or its Board. See generally Leathermon v. Grandview Mem’l Gardens, Inc., No. 07-CV-

   137, 2011 WL 2445980, at *9 (S.D. Ind. June 15, 2011) (applying Rule 9(b) to fraudulent

   concealment tolling). Further, UT’s investigation cannot be attributed to the NCAA, as Plaintiffs

   do not allege the NCAA had any control over UT’s actions in conducting the investigation—let

   alone the day-to-day control necessary to establish an agency relationship. See Smith v. Delta

   Tau Delta, Inc., 9 N.E.3d 154, 164 (Ind. 2014) (no agency relationship between national and

   local fraternity because, although national fraternity could impose post-conduct discipline on

   local fraternity, it lacked control over “everyday management and supervision”).

           Second, Bevins and Johnson do not allege they lacked knowledge of the facts underlying

   their claims. Nor could they, in light of the allegations in the SAC: they were aware they had

   been sexually abused by Rembao in 2000, (SAC ¶¶ 242, 307); Johnson reported his misconduct

   to UT that same year, (id. ¶ 365); Bevins participated in the investigation, (id. ¶¶ 320–322); and

   Rembao admitted to much of the conduct alleged, (id. ¶ 368). Bevins and Johnson assert they

   did not know there were other victims of Rembao’s abuse until October 2019, but this is

   inconsistent with their allegation that they realized in 2000 “that Rembao was abusing both of

   them and others on the team.” (Compare id. ¶ 378 with id. ¶ 242 (emphasis added).) Moreover,

   this Court found tolling inapplicable on similar facts in Monger v. Purdue University, 953 F.

   Supp. 260 (S.D. Ind. 1997), in which it held that Purdue’s investigation of a harassment

   complaint brought by a student against her professor did not trigger equitable tolling or

   fraudulent concealment where the student knew she had suffered injury on the date of the

   harassment, “regardless of the university’s determination.” Id. at 265 & 263 n.3; see also Pain

   Ctr. of SE Ind. LLC v. Origin Healthcare Sols. LLC, 893 F.3d 454, 463 (7th Cir. 2018).

           Bevins and Johnson also assert equitable tolling. Indiana only recognizes a narrow form

   of equitable tolling that applies in three limited situations: (1) a timely-filed case in federal court

   is dismissed for lack of diversity jurisdiction; (2) fraudulent concealment has occurred; or (3) the

   plaintiff suffers from a legal disability. See Alvarez v. CSX Corp., No. 10-CV-80, 2013 WL

   1870578, at *5 (N.D. Ind. May 2, 2013); Pramuk v. Purdue Calumet Univ., No. 12-CV-77, 2012



                                                     11
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 23 of 48 PageID #: 1755




   WL 6552920, at *5 (N.D. Ind. Dec. 14, 2012) (dismissing untimely claim under 12(b)(6)); see

   also Wabash Grain, Inc. v. Smith, 700 N.E.2d 234, 239 n.9 (Ind. Ct. App. 1998). Bevins and

   Johnson have invoked only fraudulent concealment, but this argument fails. See supra.

          Again, the Northern District of California’s analysis on Rembao’s separate motion is

   inapplicable here. (See ECF No. 72.) The Northern District of California based its tolling

   analysis for Bevins and Johnson on alleged facts specific to Rembao that do not apply to the

   NCAA or its Board. Specifically, the Northern District of California found that equitable tolling

   may salvage Bevins and Johnson’s claims against Rembao because there was an “obvious

   inference” based on the allegations in the First Amended Complaint “that Defendant Rembao

   knew about and maybe even participated in the manipulation” inherent in UT Austin’s

   investigation. (Id. at 27.) The court based this assessment on allegations that Rembao admitted

   to inappropriate touching but was still “cleared” in the UT report, suggesting that he had been a

   “participant” in the alleged whitewashing. (Id.) There are no comparable allegations in the SAC

   or comparable rulings in the Northern District of California’s order as to the NCAA. This

   Court’s legal and factual analysis will therefore be different for the NCAA and its Board, and

   that analysis does not lead to an exception for Plaintiffs’ untimely claims.

          Moreover, the Northern District of California found Bevins and Johnson’s claims

   potentially timely as to Rembao based on California’s broader equitable tolling doctrine. (ECF

   No. 72, at 25–27.) But, as noted above, Indiana—the applicable law here—does not recognize a

   form of equitable tolling that is implicated by Bevins and Johnson’s claims.

                  4.      A Federal Court Should Not Create a New Equitable Exception to
                          Excuse Plaintiffs’ Untimely State Law Claims
          Plaintiffs also urge this Court to “create” a new exception called the “victimization

   exception” to benefit Bevins and Johnson. (SAC ¶ 384; id. at 80, header C.) Plaintiffs assert

   they are not asking this Court to forge new ground, yet acknowledge that their proposed

   exception has not been adopted in any jurisdiction. (Compare id. ¶ 382 with id. ¶ 386 (“the

   ‘discovery rule’ regarding tolling is wholly inadequate, therefore requiring a judicially created




                                                    12
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 24 of 48 PageID #: 1756




   exception”) (emphasis added); id. ¶ 389 (similar); id. ¶ 383 (“the state of the law today” is

   insufficient).)

           This Court should decline Plaintiffs’ invitation to create a new rule because a federal

   court is not positioned to “create” equitable exceptions to state statutes of limitations. See

   generally Guar. Tr. Co. of N.Y. v. York, 326 U.S. 99, 110 (1945) (discussing federal courts’ roles

   in diversity cases and affirming that “if a plea of the statute of limitations would bar recovery in

   a State court, a federal court ought not to afford recovery”); Mathews v. Hansen, 797 N.E.2d

   1168, 1171 (Ind. Ct. App. 2003) (noting, on motion to dismiss, that statutes of limitation “are

   favored” in Indiana). Even if this Court created such an exception, it would not salvage Bevins

   and Johnson’s claims: Plaintiffs’ proposed “victimization exception” would toll the limitations

   period for sexual abuse by someone in a position of power over the victim until the victim is able

   to “identify the conduct for what it was: sexual abuse.” (SAC ¶ 384.) But Bevins and Johnson

   were aware in 2000 that they had been sexually abused by Rembao. (Id. ¶ 307.)

           B.        Plaintiffs Lack Standing to Seek Injunctive Relief and Corcoran Lacks
                     Standing to Seek Any Relief
           This Court should dismiss under Rule 12(b)(1), or in the alternative, strike under Rule

   12(f), Plaintiffs’ request for an injunction because all four Plaintiffs lack Article III standing to

   seek such relief. (SAC at 120, Prayer for Relief ¶ VIII.C; Count XIV.) This Court should also

   dismiss and/or strike all of Corcoran’s claims because she lacks standing to bring any claims.

           To begin, Aldrich, Bevins, and Johnson, as former student-athletes, lack standing to seek

   an injunction because they cannot demonstrate a “threat of future injury.” See Filardi v. Loyola

   Univ., No. 97 C 1814, 1998 WL 111683, at *3 (N.D. Ill. Mar. 12, 1998) (former student lacked

   standing to seek injunction against her former university because she failed to allege a “threat of

   imminent or future” discrimination). Plaintiffs recognized that their original former student-

   athlete Plaintiffs lacked standing for injunctive relief and amended their Complaint to add

   Corcoran, a current student-athlete, albeit one who faces no actual or threatened abuse.




                                                     13
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 25 of 48 PageID #: 1757




           Current student-athlete Corcoran has no standing to assert any claims. She fails to

   “clearly . . . allege facts” to satisfy the three-part test for standing. Spokeo, Inc. v. Robins, 136 S.

   Ct. 1540, 1547 (2016). First, she must allege she has suffered an “injury in fact” that is

   “concrete and particularized” and “actual or imminent, not ‘conjectural’ or ‘hypothetical.’”

   Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). Second, she must allege that her injury is

   “fairly traceable” to the NCAA’s actions. Id. at 561. Third, she must allege that it is “‘likely,’ as

   opposed to merely ‘speculative,’” that her injury will be redressed by a favorable decision. Id.

   (emphasis added). Where, as here, a plaintiff’s theory of standing depends on the actions of an

   independent third party (namely, Corcoran’s current or future coach), standing is “‘substantially

   more difficult’ to establish.” Id. at 562; see also Clapper v. Amnesty Int’l USA, 568 U.S. 398,

   414 (2013) (declining to abandon “our usual reluctance to endorse standing theories that rest on

   speculation about the decisions of independent actors”); Plotkin v. Ryan, 239 F.3d 882, 886 (7th

   Cir. 2001) (rejecting plaintiff’s theory of injury in part because “[t]here are necessarily many

   outside unknown influences affecting all aspects” of the claimed injury). Corcoran cannot meet

   any of the three requirements for standing—let alone the heightened standard implicated here.

           Injury. In contrast to Aldrich, Bevins, and Johnson, Corcoran acknowledges that she
   “has not been subject to sexual harassment” by her Princeton rowing coaches. (SAC ¶ 24.)

   Corcoran must therefore allege a threatened, future injury that is “certainly impending” or poses

   a “substantial risk.” See Clapper, 568 U.S. at 409, 414 & n.5 (emphasis in original) (cautioning

   that imminence “cannot be stretched beyond its purpose” to prevent “speculative” claims); id. at

   414 n.5. Corcoran advances two theories of injury, but neither meets this standard.

           First, Corcoran alleges that the NCAA’s purported failure to implement and enforce

   certain policies has put her at “increased risk of sexual assault, sexual harassment, and

   exacerbated emotional trauma.” (SAC ¶ 26.) The Seventh Circuit rejected this theory of

   standing in Plotkin, 239 F.3d 882. In Plotkin, the plaintiff alleged that employees of the Illinois

   Secretary of State Office were accepting bribes in exchange for issuing commercial drivers’

   licenses to unqualified applicants. Id. at 883. The plaintiff asserted, among other injuries, that



                                                     14
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 26 of 48 PageID #: 1758




   this misconduct put him at “an increased risk of accidents” as a user of Illinois highways. Id. at

   886. The Seventh Circuit rejected this theory as “too speculative and generalized to constitute an

   injury-in-fact.” Id. The court noted that if the plaintiff suffered this injury, then so too did all

   people using Illinois highways. Id.; see also Flynn v. FCA US LLC, No. 15-CV-0855, 2016 WL

   5341749, *2–3 (S.D. Ill. Sept. 23, 2016) (no standing based on “increased risk of injury or death”

   from car hacking because there was no substantial risk of injury). Like in Plotkin, Corcoran’s

   theory of “increased risk of sexual assault” would allow all student-athletes, on any team,

   anywhere in the country—no matter how far removed from an incident of sexual abuse or an

   abuser—to claim an injury. Such an injury is not sufficiently “concrete” or “particularized” for

   standing. See Lujan, 504 U.S. at 560 n.1 (“particularized” means “that the injury must affect the

   plaintiff in a personal and individual way”).

          Second, Corcoran alleges she is “fearful that she may be subject to sexual abuse or

   harassment if the coaching staff changes.” (SAC ¶ 25 (emphasis added).) But the Supreme

   Court in Clapper made clear that plaintiffs cannot “manufacture standing” based on subjective

   fear of “hypothetical future harm that is not certainly impending.” Clapper, 568 U.S. at 416

   (rejecting standing based on attorneys’ self-imposed burdens to protect the confidentiality of

   their communications with clients abroad based on fear of surveillance). Consistent with

   Clapper, courts in this Circuit regularly find allegations of subjective fear and anxiety

   insufficient. See, e.g., Flynn, 2016 WL 5341749, at *2 (rejecting plaintiffs’ claim of “anxiety

   and fear” of injury from car hacking absent a substantial risk of harm); Alonso v. Blue Sky

   Resorts, LLC, 179 F. Supp. 3d 857, 865 (S.D. Ind. 2016) (no standing based on fear of future

   harm from data breach); see also Bell v. Keating, 697 F.3d 445, 454 (7th Cir. 2012) (“a

   plaintiff’s notional or subjective fear” of chilling speech is insufficient for standing). Corcoran

   does not allege that any of her current coaches have made her uncomfortable or harassed her in

   any way, or that any of her peers have been subjected to harassment or abuse by the rowing

   coaches. Corcoran cannot establish standing by simply alleging that she fears a hypothetical




                                                     15
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 27 of 48 PageID #: 1759




   future event, especially one that depends on the actions of a third party. 2

          Traceability and Redressability. Even if Corcoran could establish an injury-in-fact, she
   has not plausibly alleged that it is fairly traceable to the NCAA’s alleged “failure to have or

   enforce appropriate policies and procedures” or that it is likely—as opposed to merely

   speculative—that a favorable decision in this case will redress her injury. (SAC ¶ 26; Lujan, 504

   U.S. at 560–61.) Corcoran’s contention that past incidents of sexual abuse by coaches were

   “precipitated” by the NCAA’s purported “failure to implement or enforce” certain policies and

   procedures is unsupported by factual allegations. (SAC ¶ 25.) Moreover, her position that the

   NCAA’s actions put her at risk depends on an entirely “speculative chain of possibilities,” none

   of which Corcoran even alleges here: for instance, that a current or future women’s rowing coach

   at Princeton is a bad actor; that Princeton’s own policies would not deter the coach from abusing

   Corcoran; and that, absent additional NCAA policies on abuse, this bad actor coach would abuse

   Corcoran. Clapper, 568 U.S. at 414; see also Area Transp., Inc. v. Ettinger, 219 F.3d 671, 673

   (7th Cir. 2000) (affirming dismissal for lack of causation and redressability in suit alleging

   failure to sufficiently sanction third party company); Ind. Coal. for Pub. Educ. - Monroe Cnty. v.

   McCormick, 338 F. Supp. 3d 926, 939–40 (S.D. Ind. 2018) (no causation or redressability under

   Lujan’s heightened standard in case against charter school because there were multiple

   intervening causes of plaintiffs’ claimed loss of students, funding, and diversity).

          Because all Plaintiffs lack standing to seek an injunction, their claims for injunctive relief

   should be dismissed or, alternatively, stricken. And because Plaintiff Corcoran lacks standing to

   seek any relief, her claims should be dismissed or stricken in their entirety. In addition, the class

   allegations seeking injunctive relief under Rule 23(b)(2) and the allegations related to the

   Current Student-Athlete Subclass Corcoran seeks to represent, (see SAC ¶¶ 14, 390–392, 400; id.


   2
     For the same reasons Corcoran has not alleged an injury sufficient for Article III, she also fails
   to allege a cognizable injury under Indiana law, as required for her direct liability negligence and
   breach of contract claims. See generally Cowe by Cowe v. Forum Grp., Inc., 575 N.E.2d 630,
   636 (Ind. 1991) (negligence requires “injury to the plaintiff”); Gared Holdings, LLC v. Best Bolt
   Prods., Inc., 991 N.E.2d 1005, 1012 (Ind. Ct. App. 2013) (breach of contract requires damages).


                                                    16
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 28 of 48 PageID #: 1760




   at 120, Prayer for Relief ¶ VIII.C), should also be dismissed or stricken because there is no

   Plaintiff with standing to assert those claims. See Foster v. Ctr. Twp. of LaPorte Cnty., 798 F.2d

   237, 244 (7th Cir. 1986) (dismissing class claims because named plaintiff lacked standing and

   therefore “cannot qualify as a representative of a class purporting to raise the same claim”);

   Boston v. City of Chi., No. 86-C-5534, 1988 WL 31532, at *8 (N.D. Ill. Mar. 28, 1988) (same).

          C.      The Board Is Not an Entity with the Capacity To Be Sued
          The Court should dismiss or strike the claims against the Board because the Board does

   not exist separately from the NCAA and thus cannot be sued independently. Federal Rule of

   Civil Procedure 17(b) provides that, for parties that are neither individuals nor corporations, a

   party has the “capacity to sue or be sued” according to “the law of the state where the court is

   located,” here, Indiana. See Fed. R. Civ. P. 17(b)(3). In Indiana, an unincorporated association

   may sue or be sued in its common name. See Ind. Trial Rule 17(E). But no Indiana statute

   allows for suit against a board of directors of an unincorporated association. Although the

   Indiana legislature has allowed specific boards to be sued—e.g., boards of certain hospitals, Ind.

   Code Ann. §§ 16-22-3-24, 16-23-1-47, and boards of trustees of certain universities, Ind. Code

   Ann. §§ 21-27-5-2, 21-27-4-2—the legislature has not created a general exception for suit

   against a board of any type of entity or an entity like the NCAA.

          Several courts in other jurisdictions have found that boards do not exist separate from

   their corporate counterparts and thus are not separate legal entities with capacities to be sued

   under Rule 17(b)(3). See Theta Chi Fraternity, Inc. v. Leland Stanford Junior Univ., 212 F.

   Supp. 3d 816, 821 (N.D. Cal. 2016) (granting motion to strike claims against board of fraternity

   association); Heslep v. Ams. for African Adoption, Inc., 890 F. Supp. 2d 671, 678 (N.D.W. Va.

   2012) (dismissing claims under 17(b) against a board because it is not a separate legal entity

   from the corporation). This Court should join those courts and dismiss or strike the claims

   against the Board of Governors, which lacks the capacity to be sued independently.

          D.      Plaintiffs’ Claims Based on Vicarious Liability Fail
          If this Court does not dismiss the SAC as to the NCAA and its Board under one or more



                                                    17
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 29 of 48 PageID #: 1761




   of the three global defects discussed above, it should dismiss each individual claim under Rule

   12(b)(6). To begin, Counts VIII to XIII rest on a theory that the NCAA is vicariously liable for

   Rembao’s alleged torts. These claims fail because Rembao was not the NCAA’s agent or

   employee, was not acting within the scope of his employment even if he could be considered an

   employee (which he cannot), and because the NCAA did not ratify his alleged conduct.

                   1.      Choice of Law for Vicarious Liability Tort Claims 3
           For tort claims, including for those based on theories of vicarious liability such as Counts

   VIII to XIII, Indiana uses a modified lex loci delicti (place of the wrong) framework. See Estate
   of Knox v. Wheeler, No. 05-CV-19, 2005 WL 2043787, at *8 (N.D. Ind. Aug. 25, 2005)

   (discussing Hubbard Mfg. Co. v. Greeson, 515 N.E.2d 1071 (Ind. 1987)). The first step of this

   analysis assesses whether the laws of the different states are “important enough to affect the

   outcome of the litigation.” Id. (citing Hubbard, 515 N.E.2d at 1073). If there is no conflict, the

   law of the forum state applies. Id. The law on vicarious liability from the forum state (i.e.,

   Indiana) and the states where Plaintiffs are student athletes (i.e., New Jersey) or were allegedly

   harmed by Rembao (i.e., Arizona and Texas) does not differ in ways that will affect the outcome

   of this motion to dismiss. Accordingly, for purposes of this Motion, Indiana law applies to

   Plaintiffs’ vicarious liability tort claims (Counts VIII to XIII).

                   2.      Respondeat Superior Is Inapplicable Because the Member
                           Institutions, Not the NCAA, Employed and Controlled Rembao
           The doctrine of respondeat superior does not apply here because Plaintiffs do not (and

   cannot) allege that Rembao was an agent or employee of the NCAA. Gen. Bldg. Contractors

   Ass’n, Inc. v. Pennsylvania, 458 U.S. 375, 392 (1982) (respondeat superior does not allow for

   “the imposition of liability on a defendant based on the acts of a party with whom it had no

   agency or employment relationship”). Under Indiana law, Plaintiffs must allege that Rembao

   was the NCAA’s agent. Green v. Perry, 549 N.E.2d 385, 389 (Ind. Ct. App. 1990) (respondeat


   3
     Plaintiffs do not identify under which state’s law they seek relief. The choice-of-law analysis in
   this Motion is for the named Plaintiffs. The NCAA does not suggest that the same law would
   apply to putative class members, as the proposed classes include individuals from every state.


                                                     18
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 30 of 48 PageID #: 1762




   superior does not apply to non-servant agents). “A master is a principal who employs an agent to

   perform service in his affairs and who controls or has the right to control the physical conduct of

   the other in the performance of the service.” Dallas Moser Transporters, Inc. v. Ensign, 594

   N.E.2d 454, 456 (Ind. Ct. App. 1992). “Among the indicia of a master-servant [i.e., principal-

   agent] relationship are the right to discharge, method of payment, supplying of tools by

   employer, belief by the parties in the existence of a master-servant relationship, control over the

   means used or result reached, length of employment and the establishing of work boundaries.”

   Id. at 457.

           Here, Plaintiffs do not allege that an employment relationship existed between Rembao

   and the NCAA. Instead, they allege that Rembao was employed by UArizona and UT, (SAC

   ¶¶ 156, 191), that he “worked at several other NCAA schools throughout his career,” (id. ¶ 157),

   and that he was employed outside UArizona and UT by USA Track and Field, the Olympic

   Training Center, and Team USA, (id. ¶¶ 163–164). Plaintiffs also do not allege that the NCAA

   had the right to discharge Rembao, that it supplied his tools in coaching track and field, that it

   paid him through any method, or that anyone at the NCAA had any right to direct Rembao’s day-

   to-day actions as an athletic coach. Nor do they allege that the NCAA and Rembao believed that

   they were in an employment relationship. Plaintiffs have thus pled none of the facts that Indiana

   law considers to be “among the indicia” of a master-servant relationship.

           Plaintiffs do allege that the NCAA promulgates and enforces standards regarding the

   conduct and employment of coaches. (SAC ¶¶ 91–92.) But the Indiana Supreme Court has

   twice refused to apply respondeat superior in closely analogous situations. In Smith, 9 N.E.3d

   154, the Court concluded that liability could not be imposed on a national fraternity for actions

   of the local fraternity or its individual members because the national fraternity lacked the

   requisite control. The national fraternity offered “informational resources, organizational

   guidance, common traditions, and its brand to the local fraternity,” and had “the right to

   discipline, suspend, or revoke its affiliation with the local fraternity or its members.” Id. at 164.

   The Court nevertheless concluded that the “national fraternity ha[d] no right to direct or control a



                                                    19
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 31 of 48 PageID #: 1763




   local fraternity member’s personal actions and behavioral choices.” Id. Accordingly, “[t]he

   national fraternity’s role in imposing post-conduct sanctions [did] not establish the right to

   control for purposes of creating an agency relationship,” id., and the Court concluded that the

   national fraternity was “not subject to vicarious liability” as a matter of law. Id. at 165.

   Similarly, in Yost v. Wabash College, 3 N.E.3d 509 (Ind. 2014), the Court held that a national

   fraternity’s “right to suspend or revoke its affiliation with the local fraternity or its members” and

   other conduct such as “providing aspirational goals and encouraging good behavior” did not

   create an agency relationship as a matter of law. Id. at 521–22.

          Plaintiffs’ allegations regarding the NCAA’s control of member institutions and their

   employees are indistinguishable from those the Indiana Supreme Court rejected in Smith and

   Yost. Plaintiffs do not allege here that the NCAA has the ability to “direct or control” a coach’s

   “personal actions and behavioral choices.” Smith, 9 N.E.3d at 164. While Plaintiffs allege the

   NCAA can enforce its rules against member institutions and coaches, (SAC ¶¶ 91–92), this

   allegation is equivalent to the “remedial” ability to impose “post-conduct sanctions” or ability to

   “suspend or revoke . . . affiliation” that the Indiana Supreme Court rejected in Smith and Yost.

   Smith, 9 N.E.3d at 164; Yost, 3 N.E.3d at 522. As a matter of law, Plaintiffs have not plausibly

   alleged the NCAA has an agency relationship with Rembao, and their vicarious liability claims

   must be dismissed. United States v. Rathbone Ret. Cmty., Inc., No. 08-CV-174, 2009 WL

   2147878, at *2 (S.D. Ind. July 15, 2009) (assessing the sufficiency of the pleadings and holding

   Plaintiffs “must allege facts demonstrating a principal/agent relationship”).

                  3.      Respondeat Superior Is Also Inapplicable Because Sexual Abuse Is
                          Outside Rembao’s Scope of Employment as a Coach
          Even if there were an employment or agency relationship, which Defendants submit there

   is not, Rembao’s conduct falls outside of his employment as a matter of law. Under Indiana law,

   “liability under a theory of respondeat superior attaches for sexual assault only where the assault

   occurs during physical, intimate contact required by a job.” Zander v. Orlich, 907 F.3d 956, 960

   (7th Cir. 2018); City of Indianapolis v. West, 81 N.E.3d 1069, 1073 (Ind. Ct. App. 2017) (courts




                                                    20
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 32 of 48 PageID #: 1764




   consider “how closely the acts complained of resemble acts the employee was employed to do,

   and whether the latter tend naturally or predictably to ‘melt’ or ‘ripen’ into the former”).

          Rembao was employed by UArizona and UT as an athletic coach, a job for which

   Plaintiffs do not allege that close, physical contact is required. Indeed, Plaintiffs’ own

   allegations are that such conduct was not expected as part of Rembao’s role as an athletic coach,

   and that the UT Austin report was “absurd[]” to conclude otherwise. (SAC ¶ 369.) Accordingly,

   Plaintiffs do not allege the kind of “physical, indeed intimate, contact that a job must require

   before vicarious liability will attach.” Doe v. Vigo Cnty., 905 F.3d 1038, 1043 (7th Cir. 2018);

   Konkle v. Henson, 672 N.E.2d 450, 457 (Ind. Ct. App. 1996) (priest’s sexual assault of youth

   parishioner outside the scope of his employment although many assaults took place in the

   church, because there was “no showing that [the pastor] was teaching [the parishioner] or

   performing any other pastoral acts at the time”) abrogated in part on other grounds as

   recognized in City of Indianapolis v. West, 81 N.E.3d 1069, 1073 (Ind. Ct. App. 2017).

          This case therefore is distinguishable from those in which courts have found that there

   was a fact question regarding whether conduct was within the scope of employment: those cases

   all involved close, physical contact that was required by an employee’s professional duties. In

   Stropes ex rel. Taylor v. Heritage House Childrens Center of Shelbyville, Inc., 547 N.E.2d 244

   (Ind. 1989), for example, the Indiana Supreme Court held that there was a fact question

   regarding whether a nurse’s aide’s assault of a patient was within the scope of his employment

   when the aide’s duties included changing the patient’s bedding and clothes and the assault

   occurred during performance of those duties. Id. at 245. And in Southport Little League v.

   Vaughan, 734 N.E.2d 261 (Ind. Ct. App. 2000), the Court of Appeals held that there was a fact

   question regarding scope of employment in a case involving molestation by a Little League

   coach whose duties included fitting athlete uniforms and who used his position of trust to

   commit sexual molestations. Id. at 270. But when analyzing these cases in a subsequent case,

   the Indiana Supreme Court made clear that conduct is not within the scope of employment if it is

   “not sufficiently associated with” an employee’s “employment duties.” The Supreme Court held



                                                    21
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 33 of 48 PageID #: 1765




   that a trustee was not liable for assault committed by an employee where the employee’s duties

   did not require close contact beyond “perhaps a greeting handshake.” Barnett v. Clark, 889

   N.E.2d 281, 286 (Ind. 2008). The same is true here: As described above, Plaintiffs allege that

   Rembao was “not explicitly or impliedly authorized to touch or confine [them],” id., and his

   conduct therefore falls outside the scope of his employment as a matter of law.

          Plaintiffs’ allegations that Rembao abused his position and power as a coach to commit

   sexual assault, (SAC ¶ 128), are also insufficient to establish that this conduct was within the

   scope of his employment as a coach. In Doe v. Lafayette School Corp., 846 N.E.2d 691, 702

   (Ind. Ct. App. 2006), abrogated on other grounds by State Farm Mut. Auto. Ins. v. Jakupko, 856

   N.E.2d 778 (Ind. Ct. App. 2006), the court held that a teacher’s molestation of student did not

   subject school to respondeat superior liability although the teacher used the school's equipment

   and facilities to initiate the relationship. Applying that holding, the Southern District of Indiana

   held that allegations that the perpetrator was a plaintiff’s “teacher and that the encounters

   occurred at school” were not enough, as “the Court conclude[d] that something more than use of

   school facilities is necessary to make the School vicariously liable.” Hansen v. Bd. of Trs. for

   Hamilton Se. Sch. Corp., No. 05-CV-670, 2007 WL 3091580, at *7 (S.D. Ind. Oct. 19, 2007),

   aff’d sub nom. Hansen v. Bd. of Trs. of Hamilton Se. Sch. Corp., 551 F.3d 599 (7th Cir. 2008).

   That Rembao may have used his position as a coach employed by an NCAA member institution

   to initiate his relationship with Plaintiffs does not subject the NCAA to liability for that conduct.

                  4.      Plaintiffs’ Ratification Theory Fails Because There Is No Agency
                          Relationship Between Rembao and the NCAA, and the NCAA Lacked
                          Knowledge of Rembao’s Conduct
          Plaintiffs’ attempts to salvage their vicarious liability claims by relying on ratification

   fail. (SAC ¶¶ 521–526.) Ratification is a theory of vicarious liability by which a principal can

   be responsible for an agent’s unauthorized acts. Estate of Mayer v. Lax, Inc., 998 N.E.2d 238,

   255 (Ind. Ct. App. 2013). Although Plaintiffs plead “Ratification” as a separate count, it is not a

   cause of action. Gaston v. Ghosh, 920 F.3d 493, 497 (7th Cir. 2019) (holding vicarious liability

   is not an independent cause of action). In addition to not being a cause of action, Plaintiffs’



                                                    22
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 34 of 48 PageID #: 1766




   allegations that the NCAA ratified Rembao’s conduct fail for two more reasons.

          First, “[a] ratification does not occur unless it appears that the act was performed for and

   on behalf of another, and not on account of the actor himself.” Beneficial Mortg. Co. of Ind. v.

   Powers, 550 N.E.2d 793, 796 (Ind. Ct. App. 1990). Plaintiffs do not allege that Rembao

   purported to act on behalf of the NCAA when he committed the acts giving rise to their tort

   claims against him. Nor could they, as the NCAA condemns sexual abuse. Furthermore,

   Plaintiffs do not allege that Rembao sexually abused them to benefit the NCAA. Accordingly,

   the NCAA cannot ratify those acts. Pinkney v. Thomas, 583 F. Supp. 2d 970, 981 (N.D. Ind.

   2008) (employer could not ratify an employee’s intentional tort because the employee did not

   express that he was committing the tort on behalf of his employer while committing the tort).

          Second, ratification requires “knowledge of all material facts by the person to be charged

   with said unauthorized act.” Wilcox Mfg. Grp., Inc. v. Mktg. Servs. of Ind., Inc., 832 N.E.2d 559,

   562–63 (Ind. Ct. App. 2005). Here, Plaintiffs make a single, conclusory allegation of the

   NCAA’s potential knowledge. (See SAC ¶ 525 (alleging knowledge of Rembao’s misconduct

   “by the NCAA and/or its agents . . .”).) The use of the conditional “and/or” confirms Plaintiffs

   do not have a basis for any allegation about the NCAA’s knowledge of Rembao’s abuse.

   Nowhere do they allege who informed the NCAA about Rembao’s conduct, when, or how, nor

   do they identify whom the informant told or the basis for considering that person an agent of the

   NCAA. They do not even allege that the NCAA necessarily had knowledge—rather, they

   merely allege that the NCAA or its alleged agents had knowledge. 4 What is at best a

   “[t]hreadbare recital[]” of knowledge, “supported by mere conclusory statements,” Iqbal, 556

   U.S. at 678, is insufficient and the Court should disregard it. McReynolds v. Merrill Lynch &

   Co., 694 F.3d 873, 886 (7th Cir. 2012) (allegation that company acted intentionally in

   discriminating was “merely a conclusion, unsupported by the necessary factual allegations to



   4
    As discussed above, UT’s knowledge of Rembao’s misconduct cannot be attributed to the
   NCAA. See Smith, 9 N.E.3d at 164–65; supra at III.D.2.



                                                   23
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 35 of 48 PageID #: 1767




   support a reasonable inference of discriminatory intent”). In sum, Plaintiffs do not sufficiently

   allege the NCAA’s knowledge of Rembao’s unauthorized actions.

          E.      The NCAA and Its Board Do Not Owe a Legally Actionable Duty as
                  Required to Support Plaintiffs’ Direct Liability Negligence-Based Claims
          Plaintiffs’ direct-liability negligence-based claims (Counts I-IV) assert that the NCAA

   and its Board should have taken certain steps to protect Plaintiffs from Rembao. (See, e.g., SAC

   ¶¶ 403, 418 (alleging the NCCA owed a duty to implement rules).) But absent a legally-

   recognized duty owed by the NCAA to Plaintiffs, their direct-liability negligence claims fail.

   See Yost v. Wabash Coll., 3 N.E.3d 509, 520 (Ind. 2014). Plaintiffs’ failure to plead that the

   requisite duty exists here justifies dismissal as a matter of law. See Spierer v. Rossman, 798 F.3d

   502, 513 (7th Cir. 2015) (affirming dismissal of negligence claim for failure to allege duty under

   Indiana law); Rosenbaum v. Seybold, No. 06-CV-352, 2008 WL 513205, at *2 (N.D. Ind. Feb.

   22, 2008) (“Whether [defendant] had a duty of care to the Plaintiffs . . . is purely a legal question

   that may potentially be resolved on a motion to dismiss.”).

                  1.      Choice of Law for Direct Liability Negligence-Based Claims
          Under Indiana’s modified lex loci delicti (place of the wrong) framework, courts first

   determine whether the laws of the various states with a connection to the claim are “important

   enough to affect the outcome of the litigation” such that a conflict exists. See Simon v. United

   States, 805 N.E.2d 798, 802–05 (Ind. 2004) (discussing Hubbard, 515 N.E.2d at 1073). If a

   conflict exists, the law of the place of the wrong presumptively applies. Id. But if the “place of

   the tort ‘bears little connection to’ this legal action,” courts may apply a different state’s law

   after considering (1) the place where the conduct causing the injury occurred, (2) the residence or

   place of business of the parties, and (3) the place where the relationship is centered. Id.

          The Indiana Supreme Court has applied Indiana law to negligence claims where, as here,

   the claims focused on the actions of the Defendant. In Simon, 805 N.E.2d at 807, the Court

   applied Indiana law to negligence claims where plaintiffs were injured in a plane crash outside of

   Indiana but the alleged negligent conduct by the FAA and air traffic controllers occurred in




                                                     24
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 36 of 48 PageID #: 1768




   Indiana. The Court reasoned “it is the conduct of the FAA and the air traffic controllers that is at

   issue, not the conduct of the plaintiffs.” Id. Similarly, in Hubbard Manufacturing, 515 N.E.2d

   at 1074, the Court applied Indiana law where the plaintiff was injured in Illinois and the alleged

   negligent manufacture of the lift causing the injury occurred in Indiana. The Court thus held that

   “Indiana has the more significant relationship and contacts” with the action. Id.

          Even assuming there are differences between the states’ negligence laws that affect the

   outcome of this litigation, Indiana law applies to Plaintiffs’ direct liability negligence-based

   claims (Counts I-IV) because the place of the alleged wrong and the conduct causing Plaintiffs’

   alleged injuries is Indiana. See Lynch v. Math-U-See, Inc., No. 11-CV-233, 2013 WL 796531, at

   *4 (N.D. Ind. Mar. 4, 2013) (applying Pennsylvania law, the state where the allegedly tortious

   conduct occurred, because “the most important factor here is where the conduct causing the

   injury occurred”). Plaintiffs do not allege any wrongdoing on the NCAA’s part taking place in

   Arizona, New Jersey, or Texas. Instead, Plaintiffs allege the NCAA’s “principal office is located

   in Indianapolis, Indiana,” where it has “500 employees [who] . . . interpret and support member

   legislation, run all championships and manage programs that benefit student-athletes.” (SAC

   ¶¶ 28, 29; see also id. ¶ 18 (alleging the NCAA “reside[s] and conduct[s] operations in [the

   Southern District of Indiana]”).) Plaintiffs’ negligence-based claims are based on the NCAA’s

   purported failure to “interpret and support member legislation” relating to coach-student sexual

   abuse. (See, e.g., id. ¶¶ 403, 418 (alleging the NCAA failed to implement certain rules and

   bylaws relating to coach-student abuse).) Plaintiffs further allege that the NCAA’s “500

   employees,” who are located at the NCAA’s principal place of business in Indianapolis, (see id.

   ¶ 29), include a “60-member enforcement staff” who allegedly pay insufficient attention to

   serious misconduct such as sexual abuse. (Id. ¶ 142; id. ¶¶ 403, 418 (alleging the NCAA failed

   to “enforce” certain rules and bylaws relating to sexual abuse).) Accordingly, like in Simon, the

   “gravamen of this case is the allegedly negligent conduct” of the NCAA that allegedly occurred

   from the NCAA’s principal place of business in Indiana. See Simon, 805 N.E.2d at 806. The




                                                    25
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 37 of 48 PageID #: 1769




   law of Indiana—the place of the wrong and the site of the NCAA’s allegedly negligent actions—

   thus applies to Plaintiffs’ direct liability negligence-based claims (Counts I–IV).

                  2.      Plaintiffs Fail to Establish the Required Duty

                          (a)     The NCAA and Its Board Owe No Legally Actionable Duty of
                                  Care as a Matter of Law to Plaintiffs
          “A duty of reasonable care is ‘not, of course, owed to the world at large,’ but arises out of

   a relationship between the parties.” Williams v. Cingular Wireless, 809 N.E.2d 473, 476 (Ind.

   Ct. App. 2004) (quoting Webb v. Jarvis, 575 N.E.2d 992, 997 (Ind. 1991)). Nor is there a “duty

   . . . to control the conduct of a third person as to prevent him from causing physical harm to

   another” without a special relationship between the defendant and the third person or the

   defendant and the plaintiff. See Neal v. IAB Fin. Bank, 68 N.E.3d 1114, 1118 (Ind. Ct. App.

   2017) (quoting Restatement (Second) of Torts § 315). In determining whether a duty exists,

   Indiana courts balance the so-called Webb factors: the parties’ relationship, the reasonable

   foreseeability of the harm, and public policy concerns. Webb, 575 N.E.2d at 995. All three

   Webb factors weigh against imposing a duty here.

          First, the NCAA’s relationship with student-athletes is not one that creates a legally

   cognizable duty to protect against third-party sexual abuse. With over 460,000 student-athletes

   competing in NCAA sports annually, at more than 1,000 schools, (SAC ¶¶ 82, 395), there is no

   allegation (nor could there be) that the NCAA has “direct oversight or control” over student-

   athletes like Plaintiffs. See Yost, 3 N.E.3d at 521 (no duty imposed on national fraternity for

   incidents by members when the fraternity had no “direct oversight and control” of members and

   when relationship was “remote”). Indeed, the NCAA’s member institutions and conferences

   have delegated to themselves—not the NCAA—the responsibility of overseeing student-athletes’

   health and safety. (SAC ¶ 85 (citing NCAA Const., art. 2, § 2.2.3).) And although Plaintiffs

   vaguely allege the NCAA maintained “control over and responsibility for intercollegiate sports,”

   (id. ¶ 84 (emphasis added)), Plaintiffs have not alleged that the NCAA has any direct supervision

   or control over all member institutions’ coaches (nor would such an allegation be true). Plaintiff




                                                    26
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 38 of 48 PageID #: 1770




   Corcoran, for instance, has not alleged that the NCAA directly supervises and controls the

   actions of Princeton University rowing coaches, as would be required to impose a duty under

   Yost. Nor do Plaintiffs Aldrich, Johnson, and Bevins allege that the NCAA had a “right or duty

   to control [Rembao’s] actions” or that the NCAA was in a “superior position to supervise or

   protect” Rembao—nor could they, as Rembao was neither an employee nor agent of the NCAA.

   See Neal, 68 N.E.3d at 1121.

          Second, the Indiana Supreme Court’s reasoning in Goodwin v. Yeakle’s Sports Bar &

   Grill, Inc., 62 N.E.3d 384, 392 (Ind. 2016), makes clear that the type of harm Plaintiffs allegedly

   suffered (or Corcoran fears she will suffer) was not reasonably foreseeable such that a national

   associational entity like the NCAA should have taken precautions to avoid it. To be sure, sexual

   abuse by those in positions of authority over others is an abhorrent societal issue, both in the

   college athletics setting and in our nation in general. As in Goodwin, where the court

   acknowledged that, “in the broadest sense, all crimes anywhere are ‘foreseeable’” and it

   “doubt[ed] there exists a neighborhood anywhere in this State which is entirely crime-free,” and

   Plaintiffs argued that “guns are everywhere,” id. at 394 & n.9, the NCAA has acknowledged, as

   Plaintiffs allege, that sexual relationships between coaches and student-athletes are a serious

   problem. (SAC ¶ 53 (citing 2012 Staying in Bounds publication).) But “the mere fact that a

   particular outcome is ‘sufficiently likely’ is not enough to give rise to a duty.” Goodwin, 62

   N.E.3d at 392. Instead, foreseeability turns on “whether there is some probability or likelihood

   of harm that is serious enough to induce a reasonable person to take precautions to avoid it.” Id.

   (citation omitted); see also Cavanaugh’s Sports Bar & Eatery, Ltd. v. Porterfield, 140 N.E.3d

   837, 842–43 (Ind. 2020) (no duty without notice of “present and specific circumstances that

   would cause a reasonable person to recognize the risk of an imminent criminal act” (emphasis

   added)). Just as bar owners do not “routinely contemplate” criminal attacks inside their bars, see

   Goodwin, 62 N.Ed.3d at 394, a national association entity does not “routinely contemplate” that

   the nearly half-million student-athletes around the country are sexually abused by coaches.




                                                    27
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 39 of 48 PageID #: 1771




          Third, public policy, the final Webb factor, strongly counsels against finding a duty for

   the NCAA. In Goodwin, the court reasoned that, although, “in the broadest sense, all crimes

   anywhere are ‘foreseeable,’. . . . to impose a blanket duty on proprietors to afford protection to

   their patrons would make proprietors insurers of their patrons’ safety which is contrary to the

   public policy of this state.” Id. The court further reasoned that “such a blanket duty would

   abandon the notion of liability based on negligence and enter the realm of strict liability in tort.”

   Id. Similarly here, Indiana courts have consistently expressed a strong public policy against

   imposing a duty on national entities like the NCAA where the national entity “lack[s] any direct

   oversight and control” over the individual actors whose conduct causes injury and where “day-

   to-day management” of those individuals is the responsibility of local entities and not the

   national entity. See Yost, 3 N.E.3d at 521; Smith, 9 N.E.3d at 163 (finding no duty where

   national fraternity provided educational information and policies on hazing but lacked day-to-

   day oversight and control over the behavior of local fraternities and its members). Although

   sexual abuse is unfortunately “in the broadest sense . . . foreseeable,” just like crime in Goodwin

   or fraternity-related hazing in Yost, allowing such general foreseeability to turn the NCAA into

   an “insurer” of safety from sexual abuse is contrary to the public policy of Indiana.

          Moreover, imposing a duty here would create a serious disincentive for the NCAA to

   support its member institutions in combatting sexual abuse. The Indiana Supreme Court in Yost

   recognized that a national fraternity “should be encouraged, not disincentivized, to undertake

   programs to promote safe and positive behavior and to discourage hazing and other personally

   and socially undesirable conduct.” Yost, 3 N.E.3d at 521. The national fraternity in Yost had

   “strongly disapproved of hazing . . . in its printed charters and bylaws” and “through its

   aspirational enactments and promotional materials,” informed its members that its insurance

   policies prohibited hazing, required that individual members complete trainings on the dangers

   of hazing, and even retained the power to “issue and suspend charters” and to “discipline or

   expel individual members of the fraternity.” Id. at 520. Nevertheless, the court reasoned that

   public policy weighed against finding a duty given the national fraternity’s lack of direct



                                                    28
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 40 of 48 PageID #: 1772




   oversight and control over individual fraternity members and given the public policy in favor of

   encouraging education to promote positive behavior. Id. at 521. Like the national fraternity in

   Yost, the NCAA has organized commissions to raise awareness about campus sexual abuse,

   (SAC ¶ 138), and developed publications and model policies that member institutions can use to

   combat sexual abuse, (id. ¶¶ 118, 130–132). As in Yost, these actions “should be encouraged,

   not disincentivized.” Yost, 3 N.E.3d at 521.

                           (b)     The NCAA and Its Board Did Not Assume a Duty to Plaintiffs
           The NCAA has not assumed a duty toward Plaintiffs by reason of its various efforts to

   assist its member institutions in combatting sexual abuse. Assumption of duty under Indiana law

   “requires affirmative, deliberate conduct such that it is apparent that the actor specifically

   undertook to perform the task that he is charged with having performed negligently.” Yost, 3

   N.E.3d at 517 (citations and internal markings omitted). “[T]he concept of assumed duty . . .

   requires a focus upon the specific services undertaken. While an actor may be accountable for

   negligence in the performance of certain services actually undertaken, such liability does not

   extend beyond the undertaking.” Id. at 521.

           Plaintiffs allege the NCAA’s duty arises from its constitution, bylaws, and website that

   allegedly established a duty to protect student-athletes’ health and well-being, along with the

   Board of Governor’s “charge” to operate consistent with the NCAA’s purpose and the NCAA’s

   “positioning of itself as the exclusive authority in intercollegiate athletics to preserve its goal of

   preserving amateurism.” (SAC ¶ 403(2)(c).) Plaintiffs also identify several steps the NCAA has

   taken to support its member institutions in working to prevent sexual abuse on campuses. (See

   id. ¶¶ 118, 130–132.) But none of these specific “undertakings” extend to direct oversight and

   control of the day-to-day behavior of individual coaches at member institutions. The Indiana

   Supreme Court has repeatedly held that the adoption of policies prohibiting misconduct and the

   creation of educational programs and trainings designed to prevent such misconduct are not

   specific “undertakings” resulting in the assumption of a duty to protect a plaintiff from such

   misconduct. In Yost, the Court held that a university’s promulgation of policies prohibiting



                                                     29
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 41 of 48 PageID #: 1773




   hazing, procedures for disciplining students that violate those policies, and investigations

   resulting in discipline did not give rise to a specific undertaking to control and protect the

   plaintiff from the hazing injuries he sustained “or to generally prevent its students from engaging

   in injurious private conduct toward each other.” Yost, 3 N.E.3d at 518. Likewise, in Smith, the

   Court held that “providing information to the local fraternity to discourage hazing and alcohol

   abuse and disciplining chapters and members for violations” did not show that the national

   fraternity assumed any duty of “direct supervision and control of the behaviors of its local

   chapter members.” Smith, 9 N.E.3d at 162–63.

          Even more on point, in Lanni v. National Collegiate Athletic Ass’n, 42 N.E.3d 542 (Ind.

   Ct. App. 2015), a college fencer sued the NCAA following an eye injury at a competition. The

   NCAA had, among other things, established rules of competition, modified safety guidelines,

   and collected data to “provide athletes with a safe competitive environment.” Id. at 553. The

   court held that “the specific duties undertaken by the NCAA with respect to the safety of its

   student‐athletes was simply to provide information and guidance to the NCAA’s member

   institutions and student‐athletes.” Id. Although the steps taken by the NCAA to actively engage

   its member institutions and student-athletes in how to avoid unsafe practices were

   “commendable,” the court found they did “not rise to the level of assuring protection of the

   student-athletes from injuries that may occur at sporting events.” Id. The court reasoned that

   “[a]ctual oversight and control cannot be imputed merely from the fact that the NCAA has

   promulgated rules and regulations and required compliance with those rules and regulations.”

   Id. And the court held that “[t]he NCAA’s conduct does not demonstrate that it undertook or

   assumed a duty to actually oversee or directly supervise the actions of the member institutions

   and the NCAA’s student-athletes.” Id.

          Similarly here, the specific steps identified by Plaintiffs—including NCAA model

   policies for member institutions’ voluntary adoption, (SAC ¶ 118), publications discussing

   “Athletics’ Role in Support of Healthy and Safe Campuses,” (id. ¶ 132), and commissions to

   “monitor and track” sexual violence, (id. ¶ 138)—are simply informational resources and



                                                    30
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 42 of 48 PageID #: 1774




   guidance for member institutions and student-athletes. As in Lanni, actual oversight and control

   “cannot be imputed merely from the fact that the NCAA has promulgated rules and regulations

   and required compliance” with them. Lanni, 42 N.E.3d at 553. These actions do not, under Yost,

   Smith, or Lanni, demonstrate that the NCAA specifically undertook or assumed a duty to directly

   supervise coaches like Rembao and protect student-athletes from them.

                          (c)     The NCAA Does Not Owe a Fiduciary Duty to Plaintiffs
          Plaintiffs’ assertion in Count III (breach of fiduciary duty) that the NCAA owes a

   fiduciary duty to Plaintiffs arising from a “special relationship founded upon trust and

   confidence between the NCAA and its student-athletes,” (SAC ¶ 434), is incorrect given the

   narrow circumstances under which Indiana law recognizes fiduciary duties. A fiduciary

   relationship requires a “confidential relationship,” which exists “whenever confidence is reposed

   by one party in another with resulting superiority and influence exercised by the other.”

   Huntington Mortg. Co. v. DeBrota, 703 N.E.2d 160, 167 (Ind. Ct. App. 1998) (citation omitted).

   Certain specified relationships create a presumption of influence—for instance, an attorney and

   client. See In re Estate of Neu, 588 N.E.2d 567, 570 (Ind. Ct. App. 1992). That type of

   confidential relationships is not alleged here. Plaintiffs do not allege facts showing they

   personally had or have a confidential relationship with the NCAA resulting in influence over

   them. Nor could they. Relationships between the NCAA, a national association of colleges and

   universities, and student-athletes are not recognized as having this presumption of influence. See

   Flood v. Nat’l Collegiate Athletic Ass’n, No. 15-CV-890, 2015 WL 5785801, at *11 (M.D. Pa.

   Aug. 26), report and recommendation adopted, 2015 WL 5783373 (M.D. Pa. Sept. 30, 2015)

   (“[C]ourts have flatly rejected the notion that the relationship between student-athletes, colleges,

   and the NCAA somehow rises to the level of a fiduciary relationship.”).

                          (d)     The NCAA Does Not Owe a Duty to Support Plaintiffs’
                                  “Negligent Misrepresentation/Omission” Claim
          To support their “negligent misrepresentations and omissions claim” (Count IV),

   Plaintiffs allege the NCAA “concealed” certain allegedly material information. (SAC ¶¶ 441–




                                                    31
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 43 of 48 PageID #: 1775




   442.) Indiana does not recognize a negligent misrepresentation claim outside of the context of

   professionals, including but not limited to brokers, attorneys, abstractors, and surveyors, and

   employer-employee relationships. See Roche Diagnostics Corp. v. Binson’s Hosp. Supplies,

   Inc., No. 17-cv-00949, 2017 WL 4123050, at *9 (S.D. Ind. Sept. 18, 2017). Even if it did,

   Plaintiffs have not identified any affirmative misrepresentations by the NCAA to support their

   claim. See Passmore v. Multi-Mgmt. Servs., Inc., 810 N.E.2d 1022, 1025 (Ind. 2004) (negligent

   misrepresentation requires an “affirmative misrepresentation”). And, as explained above,

   Plaintiffs have not alleged the requisite relationship to show the NCAA owed a duty to disclose

   any allegedly material facts. See, e.g., Harmon v. Fisher, 56 N.E.3d 95, 99–100 (Ind. Ct. App.

   2016) (“duty to speak” for purposes of constructive fraud may arise from a fiduciary relationship

   or between a buyer and seller).

          F.      Plaintiffs’ Contract and Third-Party-Beneficiary Claims Fail

                  1.      Choice of Law for Contract-Based Claims
          Indiana uses a multi-factored “intimate contact[s]” analysis to determine which law

   applies to contract claims. See W.H. Barber Co. v. Hughes, 63 N.E.2d 417, 423 (Ind. 1945).

   But, “[b]efore entangling itself in messy issues of conflict of laws[,] a court ought to satisfy itself

   that there actually is a difference between the relevant laws of the different states.” Hartford

   Accident & Indem. Co. v. Dana Corp., 690 N.E.2d 285, 291 (Ind. Ct. App. 1997) (citation

   omitted). “If the purposes and policies of two potential rules are the same, the forum should

   apply the forum law.” Id. For purposes of the motion to dismiss, the contract laws of Indiana,

   Arizona, Texas, and New Jersey do not differ such that it would be important to the outcome of

   the litigation. Accordingly, Indiana law applies to Counts V–VII.

                  2.      There Is No Express or Implied Contract Between the NCAA and
                          Student-Athletes
          The Court should dismiss Plaintiffs’ breach of express and implied contract claims

   (Count V and VI) because Plaintiffs have not identified a valid contract between themselves and

   the NCAA. See McCalment v. Eli Lilly & Co., 860 N.E.2d 884, 894 (Ind. Ct. App. 2007). A




                                                     32
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 44 of 48 PageID #: 1776




   mutual manifestation of assent is required for both claims. Ahuja v. Lynco Ltd. Med. Rsch., 675

   N.E.2d 704, 708 n.2 (Ind. Ct. App. 1996). Plaintiffs point to the NCAA’s Student-Athlete

   Statement form (hereinafter “form”) (SAC ¶ 450), but the form contains no mutual assent

   between the athlete and the NCAA to enter into a contractual relationship. The form sets out its

   “purpose” in its header: “[t]o assist in certifying eligibility.” (See ECF 116-2 at 2, SAC Ex. B at

   2.) The form requires student-athletes to attest that they have reviewed the Manual for the

   portions that “address [their] eligibility.” (Id. at 2.) It references the Manual, but only the

   requirements relating to “[t]he conditions [student-athletes] must meet to be eligible and the

   requirement that [they] sign this form.” (Id. at 3.) It does not contain any affirmative

   commitment by the NCAA, not even a commitment to process the form—rather, the form states

   that it is to be returned to the member institution’s director of athletics and kept there for six

   years. (Id. at 8.) As the Manual explains, while the NCAA “prescribe[s] [the contents]” of the

   form, the member institution administers the form and maintains the form. 5 (Luedtke Decl., Ex.

   1, ECF No. 123-1 at 12 (Bylaw art. 12 § 12.7.2.1); id. at 11 (NCAA Const. art. III § 3.2.4.6.1).)

   Indeed, it is not clear that Plaintiffs assented to the alleged contract at all; although they plead the

   NCAA required student-athletes to sign the statement, they nowhere plead the Plaintiffs in fact

   signed it. (SAC ¶ 450.)

           In short, the form does not constitute a contract between the NCAA and student-athletes;
   instead, it allows member institutions to collect information on students’ eligibility to participate

   5
     The Court may consider the Manual, which contains the NCAA’s Constitution and Bylaws,
   although it is not attached to the SAC. “[D]ocuments attached to a motion to dismiss are
   considered part of the pleadings if they are referred to in the plaintiff’s complaint and are central
   to his claim. Such documents may be considered by a district court in ruling on the motion to
   dismiss.” Wright v. Assoc. Ins., 29 F.3d 1244, 1248 (7th Cir. 1994) (incorporating a contract by
   reference because it was “repeatedly quote[ed] from and refere[ed] to” in the complaint, and
   plaintiff’s claim was based on an allegation that Defendants interfered with the contract). Here,
   Plaintiffs contend that the Manual is the source of contractual duties—and Plaintiffs incorporated
   it by reference through numerous references to it. (See, e.g., SAC ¶¶ 83, 419, 450, 453–456,
   465, 467.) The Court may thus consider it. See Mueller v. Apple Leisure Corp., 880 F.3d 890,
   895 (7th Cir. 2018) (incorporating by reference a contract mentioned in a complaint); Gary/Chi.
   Int’l Airport Auth. v. Zaleski, 144 F. Supp. 3d 1019, 1024 (N.D. Ind. 2015) (similar).



                                                     33
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 45 of 48 PageID #: 1777




   in NCAA sports. Cf. Hall v. Nat’l Collegiate Athletic Ass’n, 985 F. Supp. 782, 794 & n.27 (N.D.

   Ill. 1997) (concluding that a different form verifying the coursework eligibility of prospective

   student-athletes constituted a contract for the NCAA’s processing agent to “process and then

   evaluate [the] application” in consideration of a fee and that the student could sue for breach only

   if the agent “had not processed the information, but cashed the check anyway”).

           Plaintiffs attempt to cobble together a contract by arguing that the form references the

   Manual, in which they allege the NCAA makes promises to student-athletes. This, they contend,

   makes the Manual a contract between student-athletes and the NCAA. (SAC ¶¶ 454–456.) This

   argument fails. A review of the Manual makes clear that the NCAA did not make any promises

   for the student-athletes’ benefit in the Manual. Instead, the Manual divides responsibilities

   between the NCAA and member institutions. As the Manual makes clear in the very provisions

   Plaintiffs cite, while the Manual sets as a goal that “[i]ntercollegiate athletics programs . . . be

   conducted in a manner designed to protect and enhance the physical and educational wellbeing

   of student-athletes,” (id. ¶ 85), it places the responsibility of doing so with the member

   institution, who oversee the day-to-day operations of their respective programs. (Compare id.

   with id. ¶ 454(d).) Contrary to Plaintiffs’ selective quotation of the Manual, the NCAA does not

   pledge to require the member institutions to do anything. Instead, the Manual makes it “the

   responsibility of each member institution to protect the health of, and provide a safe environment

   for, each of its participating student-athletes,” “to establish and maintain an environment that

   fosters a positive relationship between the student-athlete and coach,” and “to establish and

   maintain an environment in which a student-athlete’s activities are conducted as an integral part

   of the student-athlete’s educational experience.” (Compare SAC ¶ 454(e)–(g) with Luedtke

   Decl., Ex. 1, ECF No. 123-1 at 8 (NCAA Const. art. II §§ 2.2.3, 2.2.4, 2.2.1).) The NCAA’s role

   is to “assist the institution” in achieving compliance while “uphold[ing] the principle of

   institutional control.” (Luedtke Decl., Ex. 1, ECF No. 123-1 at 7 (NCAA Const. art. I § 1.2(b),

   id. at 9 (art. II § 2.8.2).)

           Because the Manual contains no promises by the NCAA to student-athletes, there is no



                                                     34
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 46 of 48 PageID #: 1778




   valid contract between the NCAA and student-athletes, and the claim must be dismissed. See

   Bradley v. Nat’l Collegiate Athletic Ass’n, 249 F. Supp. 3d 149, 172 (D.D.C. 2017) (dismissing

   claim because plaintiff failed to plead valid contract with the NCAA).

                  3.      Plaintiffs Are Not Third-Party Beneficiaries of Any Alleged Contract
                          Between the NCAA and Student-Athletes
          Plaintiffs also cannot show that they are the third-party beneficiaries of a contract

   between the NCAA and member institutions (Count VII). A third party suing for breach of

   contract must show “[a] clear intent by the actual parties to the contract to benefit the third

   party.” Luhnow v. Horn, 760 N.E.2d 621, 628–29 (Ind. Ct. App. 2001) (no third-party

   beneficiary status where “the contract address[ed] only the rights and obligations of the two

   contracting parties; it contains no provisions which demonstrate an intent to benefit any other

   person”).

          The Manual provisions cited by Plaintiffs as the alleged “promises” allocate

   responsibilities for student welfare between the NCAA and its member institutions. See supra

   Section III.F.2. While students might benefit from that division, they are at most incidental—not

   intended—beneficiaries, and thus cannot sue for breach of contract. See Knelman v. Middlebury

   Coll., 898 F. Supp. 2d 697, 715 (D. Vt. 2012), aff’d, 570 F. App’x 66 (2d Cir. 2014) (casting

   doubt on the idea that a student was the intended beneficiary of the NCAA Manual’s fairness

   provisions). Plaintiffs have not identified any statements “sufficient to support the players’

   claims that” the NCAA “intended to assume a direct contractual obligation to every” NCAA

   athlete. See Hairston v. Pac. 10 Conf., 101 F.3d 1315, 1320 (9th Cir.), as amended (Dec. 19,

   1996) (statements in PAC-10 Constitution and bylaws did not support a third-party beneficiary

   claim). They therefore cannot show third-party beneficiary status. Luhnow, 760 N.E.2d at 628–

   29 (contract did not create third-party beneficiary status where it showed an intent to “benefit . . .

   landowners with property drained by the Starr and Troutman Drains, as a whole, and not a

   particularized obligation as to any single landowner”); Ayres v. Indian Heights Volunteer Fire

   Dep’t, Inc., 493 N.E.2d 1229, 1235 (Ind. 1986) (similar).




                                                    35
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 47 of 48 PageID #: 1779




   DATED: November 13, 2020         MUNGER, TOLLES & OLSON LLP



                                    By:

                                          CAROLYN HOECKER LUEDTKE
                                          (pro hac vice)
                                          TERRA CASTILLO LAUGHTON
                                          (pro hac vice)
                                          MUNGER, TOLLES & OLSON LLP
                                          560 Mission Street, Twenty-Seventh Floor
                                          San Francisco, California 94105-3089
                                          Telephone:      (415) 512-4000
                                          Facsimile:      (415) 512-4077
                                          Email: Carolyn.Luedtke@mto.com
                                                   Terra.Laughton@mto.com


                                          GLENN D. POMERANTZ
                                          (pro hac vice)
                                          HAILYN J. CHEN
                                          (pro hac vice)
                                          LAUREN M. HARDING
                                          (pro hac vice)
                                          MUNGER, TOLLES & OLSON LLP
                                          350 South Grand Avenue, Fiftieth Floor
                                          Los Angeles, California 90071-3426
                                          Telephone:      (213) 683-9100
                                          Facsimile:      (213) 687-3702
                                          Email: Glenn.Pomerantz@mto.com
                                                   Hailyn.Chen@mto.com
                                                   Lauren.Harding@mto.com



                                          ANDREA ROBERTS PIERSON
                                          NICHOLAS B. ALFORD
                                          FAEGRE DRINKER BIDDLE & REATH LLP
                                          300 N. Meridian Street, Suite 2500
                                          Indianapolis, Indiana 46204
                                          Telephone:       (317) 237-1424
                                          Facsimile:       (317) 237-1000
                                          Email: andrea.pierson@faegredrinker.com
                                                   nicholas.alford@faegredrinker.com
                                    Attorneys for Defendants The National Collegiate
                                    Athletic Association and The Board of Governors of
                                    the National Collegiate Athletic Association




                                          36
Case 1:20-cv-02310-JRS-MPB Document 124 Filed 11/13/20 Page 48 of 48 PageID #: 1780




                                   CERTIFICATE OF SERVICE
          I hereby certify that on November 13, 2020, a copy of the foregoing was filed

   electronically with the Clerk of the Court using the Court’s CM/ECF system. Parties may access

   this filing through the Court’s system.


   DATED: November 13, 2020                  FAEGRE DRINKER BIDDLE & REATH LLP



                                             By:    Andrea Roberts Pierson
                                                   ANDREA ROBERTS PIERSON
                                                   NICHOLAS B. ALFORD
                                                   FAEGRE DRINKER BIDDLE & REATH LLP
                                                   300 N. Meridian Street, Suite 2500
                                                   Indianapolis, Indiana 46204
                                                   Telephone:       (317) 237-1424
                                                   Facsimile:       (317) 237-1000
                                                   Email: andrea.pierson@faegredrinker.com
                                                            nicholas.alford@faegredrinker.com




                                                   37
